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COMMONWEALTH OF                  STATE OF CALIFORNIA                 STATE OF NEW JERSEY
  PENNSYLVANIA                  OFFICE OF THE ATTORNEY              OFFICE OF THE ATTORNEY
OFFICE OF ATTORNEY                     GENERAL                             GENERAL
     GENERAL                        XAVIER BECERRA                     GURBIR S. GREWAL
   JOSH SHAPIRO                   ATTORNEY GENERAL                    ATTORNEY GENERAL
ATTORNEY GENERAL



                                             January 30, 2019


  VIA Federal eRulemaking Portal & Mail
  The Honorable Betsy DeVos
  Secretary
  U.S. Department of Education
  400 Maryland Avenue S.W.
  Washington D.C. 20202

  Re:    Comment on Proposed Rule Regarding Nondiscrimination on the Basis of Sex in
         Education Programs or Activities Receiving Federal Financial Assistance—Docket ID
         ED–2018–OCR–0064 (83 Fed. Reg. 61,462 (Nov. 29, 2018))

  Dear Secretary DeVos:

          On behalf of the Commonwealths of Pennsylvania and Kentucky, the States of New
  Jersey, California, Delaware, Hawaiʻi, Illinois, Iowa, Maine, Maryland, Minnesota, Nevada,
  New Mexico, North Carolina, Oregon, Rhode Island, Vermont, Washington, and the District of
  Columbia, we write to express our strong opposition to the Proposed Rule Regarding
  Nondiscrimination on the Basis of Sex in Education Programs or Activities Receiving Federal
  Financial Assistance (the “proposed rule”), published by the Department of Education (the
  “Department”) in the Federal Register on November 29, 2018. This rule seeks to impose
  procedures for the implementation of Title IX of the Education Amendments Act of 1972 (Title
  IX). Unfortunately, many of these proposed procedures would thwart the very purpose of Title
  IX—to provide equal access to educational opportunities. For this reason, we urge you to
  withdraw this rule.




                                                1
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         Proper enforcement of Title IX is an issue of immense importance to our states, our
resident students and families, our teachers, and our communities. The ability to learn in a safe
environment free from violence and discrimination is critical and something that we as states
prioritize and value.
        Conduct that violates Title IX may also violate criminal laws, and state attorneys general,
along with county and local prosecutors, have the responsibility to investigate and prosecute
these violations when warranted. Many of our states prohibit discrimination based on sex.1 We
have a strong interest in vigorous enforcement of these laws and in ensuring that our own
enforcement efforts are not undermined by a weaker federal regime.
        Title IX applies to public K-12 schools as well as public colleges and universities, so the
states are regulated entities under the proposal. And the states themselves regulate, and in many
cases provide funding for, private educational institutions within their borders, which will be
subject to the proposed rule to the extent they receive federal funds. Most importantly, the states
have a profound interest in protecting the well-being of their students and in ensuring that they
are able to obtain an education free of sexual harassment, violence, and discrimination.
        We represent states in which schools2 have worked to bring their procedures in line with
Title IX’s requirements: to provide students an educational environment free from discrimination
based on sex, including sexual harassment and violence. The proposed rule imposes new
requirements on schools and complainants that would mark a significant departure from that
fundamental purpose of Title IX.
       In this comment letter, we address aspects of the proposed rule that would be
incompatible with Title IX, inappropriate exercises of the Department’s authority, and
unsupported by the facts. Section I of the comment provides relevant factual and legal
background on sexual harassment and violence and its impact on education. Section II addresses
the Department’s proposal for a general rule to govern schools’ obligations to respond to sexual
harassment and violence. Section III addresses the proposed definitions of “complainant,”
“formal complaint,” and “supportive measures.” Section IV details problems with the
Department’s proposed formal grievance procedures. Section V requests clarification regarding
how the proposed rule will interact with other federal, state, and local laws and policies. Section
VI addresses other issues with the proposed rule. Section VII identifies flaws in the


        1
          E.g., Cal. Const., art. I, § 7(a) & (b); Cal. Educ. Code § 220; Cal. Gov’t Code § 11135; Minn.
Stat. § 363A.13; N.J.S.A. 10:5-12; Pa. Const. art. I, § 28.
        2
         For purposes of this letter, “school” is defined consistent with the statute to include “any
education program or activity receiving Federal financial assistance,” which includes but is not limited to
most elementary and secondary schools and institutions of undergraduate and higher graduate education.
20 U.S.C. § 1681, et. seq. We use “school” synonymously with the term “recipient” used by the proposed
rule.



                                                     2
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Department’s regulatory impact analysis. And Section VIII speaks to the effective date of any
Title IX rule adopted by the Department.
        Finally, we are concerned that during the notice and comment process the Department of
Education has not proactively released required records under the Administrative Procedure Act
(APA). The APA requires federal agencies to reveal “for public evaluation” the “technical
studies and data upon which the agency relies” in rulemaking, including reports and information
relied on by the agency in reaching its conclusions.3 We understand that studies relied on by the
Department in preparing the Regulatory Impact Analysis4 have not been made available to the
public in contravention of the APA. In addition, tens of thousands of comments already
submitted to Regulations.gov are also not available to the public,5 even though the Notice of
Proposed Rulemaking (NPRM) specifically indicates “all public comments about these proposed
regulations” will be available for inspection “[d]uring and after the comment period” by
accessing Regulations.gov. 83 Fed. Reg. at 61,463. We ask that the Department promptly make
this information public and provide sufficient time for a meaningful response.




        3
         American Radio Relay League, Inc. v. FCC, 524 F.3d 227, 236 (D.C. Cir. 2008) (internal
quotations and citations omitted).
        4
         See, e.g., 83 Fed. Reg. at 61,485 (discussing “examin[ation of] public reports of Title IX reports
and investigations at 55 [institutions of higher education] nationwide”).
        5
         Compare https://www.regulations.gov/document?D=ED-2018-OCR-0064-0001 (stating that
approximately 96,800 comments have been submitted as of 2:00 PM ET on January 30, 2019), with
https://www.regulations.gov/docketBrowser?rpp=25&po=0&dct=PS&D=ED-2018-OCR-
0064&refD=ED-2018-OCR-0064-0001 (allowing the public to access only 8,909 comments as of 2:00
PM ET on January 30, 2019).


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I.      Title IX Guarantees Students an Equal Education Free of Sexual Harassment6,
        Which is Pervasive and Deeply Harmful to Students.
       Title IX of the Education Amendments Act of 1972 is a civil rights statute that guarantees
students equal access to educational programs and activities free of discrimination based on sex.7
Since at least 1992, this right has been applied to protect students from sexual harassment and
sexual violence that would limit or deny their ability to participate equally in the benefits,
services, and opportunities of federally funded educational programs and activities.8
        Sexual harassment of students occurs far too frequently—at all grade levels and to all
types of students. More than 20 percent of girls aged 14 to 18 have been kissed or touched
without consent.9 In grades 7–12, 56 percent of girls and 40 percent of boys are sexually
harassed every year, with nearly a third of the harassment taking place online.10 In college,
nearly two thirds of both men and women will experience sexual harassment.11 More than 1 in 5
women and nearly 1 in 18 men in college were survivors of sexual assault or sexual misconduct
due to physical force, threats of force, or incapacitation.12 The federal government’s own studies
reaffirm these statistics: the U.S. Department of Justice’s Bureau of Justice Statistics found that,
on average, 20.5 percent of college women had experienced sexual assault since entering
college,13 while the Centers for Disease Control and Prevention found that one in five women

        6
          Sexual violence and sexual assault can both be forms of sexual harassment. The term “sexual
harassment” as used herein includes sexual violence, which courts and the Department have recognized is
a subset of actionable conduct under the term “sexual harassment.” See, e.g., U.S. Dep’t of Educ., Off. for
Civil Rights, Dear Colleague Letter, at 1 (Apr. 4, 2011, withdrawn Sept. 22, 2017) (the “2011 DCL”)
(“Sexual harassment of students, which includes acts of sexual violence, is a form of sex discrimination
prohibited by Title IX.”).
        7
            20 U.S.C. § 1681(a).
        8
            Franklin v. Gwinnett Cty. Pub. Schs., 503 U.S. 60 (1992).
        9
         Nat’l Women’s Law Center, Let Her Learn: Stopping School Pushout for: Girls Who Have
Suffered Harassment and Sexual Violence 1 (Apr. 2017), https://nwlc.org/resources/stopping-school-
pushout-for-girls-who-have-suffered-harassment-and-sexual-violence.
        10
           Catherine Hill & Holly Kearl, Crossing the Line: Sexual Harassment at School, AAUW 11
(2011), https://www.aauw.org/files/2013/02/Crossing-the-Line-Sexual-Harassment-at-School.pdf.
        11
          Catherine Hill & Elena Silva, Drawing the Line: Sexual Harassment on Campus, AAUW 17,
19 (2005), https://history.aauw.org/files/2013/01/DTLFinal.pdf (noting differences in the types of sexual
harassment and reactions to it).
        12
          E.g., David Cantor et al., Report on the AAU Campus Climate Survey on Sexual Assault and
Sexual Misconduct, Association of American Universities 13-14 (Sept. 2015, reissued Oct. 2017),
https://www.aau.edu/sites/default/files/AAU-Files/Key-Issues/Campus-Safety/AAU-Campus-Climate-
Survey-FINAL-10-20-17.pdf.
        13
          See generally, Campus Climate Survey Validation Study, Final Technical Report (Jan. 2016),
Appx. E, https://www.bjs.gov/content/pub/pdf/App_E_Sex-Assault-Rape-Battery.pdf; see also Sofi
Sinozich & Lynn Langton, Rape and Sexual Assault Victimization Among College-Age Females, 1995–



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have experienced sexual assault in their lifetimes.14 And harassment is not limited to women:
Men and boys are far more likely to be subjected to sexual assault than to be falsely accused of
it.15 Historically marginalized and underrepresented groups—such as girls who are pregnant or
raising children, LGBTQ students, and students with disabilities—are more likely to experience
sexual harassment than their peers.16
        Despite the frequency of campus sexual harassment and violence, those subjected to it
often refrain from reporting it. In 2016, only 20 percent of rape and sexual assault survivors
reported these crimes to the police.17 Only 12 percent of college survivors18 and two percent of
female survivors ages 14–1819 reported sexual assault to their schools or the police. One national


2013, U.S. DOJ, Office of Justice Programs, Bureau of Justice Statistics (Dec. 2014), https://www.bjs.
gov/content/pub/pdf/rsavcaf9513.pdf.
        14
           Ctrs. for Disease Control & Prevention, National Intimate Partner and Sexual Violence Survey,
https://www.cdc.gov/violenceprevention/pdf/nisvs_report2010-a.pdf; see also Ctrs. for Disease Control &
Prevention, Understanding Sexual Violence Fact Sheet, https://www.cdc.gov/violenceprevention/pdf/sv-
factsheet.pdf (last checked Jan. 21, 2019) (reporting that 1 in 2 women and 1 in 5 men experienced sexual
violence other than rape during their lifetimes, about 1 in 5 women have experienced completed or
attempted rape, 1 in 21 men have been made to penetrate someone else in their lifetime, and 1 in 3 female
rape victims experienced it for the first time between 11-17 years old and 1 in 9 reported that it occurred
before age 10).
        15
          E.g., Tyler Kingkade, Males Are More Likely To Suffer Sexual Assault Than To Be Falsely
Accused Of It, Huffington Post (Oct. 16, 2015), https://www.huffingtonpost.com/2014/12/08/false-rape-
accusations_n_6290380.html.
        16
          Nat’l Women’s Law Center, Let Her Learn: Stopping School Pushout for Girls Who Are
Pregnant or Parenting 12 (2017), https://nwlc.org/resources/stopping-school-pushout-for-girls-who-are-
pregnant-or-parenting (56 percent of girls aged 14 to 18 who are pregnant or raising children are touched
or kissed without consent); Joseph G. Kosciw et al., The 2017 National School Climate Survey: The
Experiences of Lesbian, Gay, Bisexual, Transgender, and Queer Youth in Our Nation’s Schools, GLSEN
26 (2018), https://www.glsen.org/article/2017-national-school-climate-survey-1; AAU Campus Climate
Survey, supra note 12, at 13–14 (nearly 25 percent of transgender or gender non-conforming students are
sexually assaulted in college); Nat’l Women’s Law Center, Let Her Learn: Stopping School Pushout for:
Girls With Disabilities 7 (2017), https://nwlc-ciw49tixgw5lbab.stackpathdns.com/wp-
content/uploads/2017/04/Final_nwlc_Gates_GirlsWithDisabilities.pdf (“[C]hildren with disabilities were
2.9 times more likely than children without disabilities to be sexually abused.”).
        17
         DOJ, Bureau of Justice Stats., Criminal Victimization, 2016: Revised, at 7 (Oct. 2018), https://
www.bjs. gov/content/pub/pdf/cv16.pdf.
        18
            Poll: One in 5 Women Say They Have Been Sexually Assaulted in College, Wash. Post (June
12, 2015), https://www.washingtonpost.com/graphics/local/sexual-assault-poll; see also Drawing the
Line: Sexual Harassment on Campus, supra note 11, at 2 (“[L]ess than 10 percent of these students tell a
college or university employee about their experiences and an even smaller fraction officially report them
to a Title IX officer.”).
        19
          Let Her Learn: Stopping School Pushout for: Girls Who Have Suffered Harassment and Sexual
Violence, supra note 9, at 2.



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survey found that of 770 rapes on campus during the 2014–2015 academic year, only 40 were
reported to authorities under the Clery Act guidelines.20 Students often choose not to report for
fear of reprisal, because they believe their abuse was not important enough, or because they think
that no one would do anything to help.21 Reporting is even less likely among students of color,22
undocumented students,23 LGBTQ students,24 and students with disabilities.25
       When not addressed properly, sexual harassment can have a debilitating impact on a
student’s access to education.26 For example, 34 percent of college survivors of sexual assault
drop out of college,27 often because they no longer feel safe on campus.28
       This is why effective Title IX enforcement is crucial: Protecting students from the
devastating effects of sexual harassment is a necessary component of an equal education free

        20
          N.J. Task Force on Campus Sexual Assault, 2017 Report and Recommendations,
https://www.nj.gov/highereducation/documents/pdf/index/sexualassaultaskforcereport2017.pdf.
        21
             RAINN, Campus Sexual Violence: Statistics, https://www.rainn.org/statistics/campus-sexual-
violence.
        22
           Colleen Murphy, Another Challenge on Campus Sexual Assault: Getting Minority Students to
Report It, The Chronicle of Higher Education (June 18, 2015) (discussing underreporting by student of
color), https://www.chronicle.com/article/Another-Challenge-on-Campus/230977; see also Kathryn
Casteel, Julie Wolfe & Mai Nguyen, What We Know About Victims of Sexual Assault in America, Five
Thirty Eight Projects (last checked Jan. 21, 2019), https://projects.fivethirtyeight.com/sexual-assault-
victims (reporting results of the 2017 National Crime Victimization Survey (NCVS), finding that 77
percent of incidents of rape and sexual assault were not reported to the police and that 15 percent of the
incidents of rape and sexual assault in the NCVS were reported by Hispanic respondents and 13 percent
by non-Hispanic black respondent).
        23
           See Jennifer Medina, Too Scared to Report Sexual Abuse. The Fear: Deportation, N.Y. Times
(Apr. 30, 2017), https://www.nytimes.com/2017/04/30/us/immigrants-deportation-sexual-
abuse.html?mcubz=3.
        24
          National Center for Transgender Equality, The Report of the 2015 U.S. Transgender Survey:
Executive Summary 12 (Dec. 2016), https://transequality.org/sites/default/files/docs/usts/USTS-
Executive-Summary-Dec17.pdf.
        25
           Nat’l Women’s Law Center, Let Her Learn: Stopping School Pushout for: Girls with
Disabilities 7 (2017), https://nwlc-ciw49tixgw5lbab.stackpathdns.com/wp-content/uploads/2017/04/
Final_nwlc_Gates_GirlsWithDisabilities.pdf.
        26
          E.g., Audrey Chu, I Dropped Out of College Because I Couldn’t Bear to See My Rapist on
Campus, Vice (Sept. 26, 2017), https://broadly.vice.com/en_us/article/qvjzpd/i-dropped-out-of-college-
because-i-couldnt-bear-to-see-my-rapist-on-campus.
        27
           Cecilia Mengo & Beverly M. Black, Violence Victimization on a College Campus: Impact on
GPA and School Dropout, 18(2) J.C. Student Retention: Res., Theory & Prac. 234, 244 (2015),
https://doi.org/10.1177/1521025115584750.
        28
         E.g., Alexandra Brodsky, How Much Does Sexual Assault Cost College Students Every Year?,
Wash. Post (Nov. 18, 2014), https://www.washingtonpost.com/posteverything/wp/2014/11/18/how-much-
does-sexual-assault-cost-college-students-every-year/.



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from discrimination. In enacting Title IX, Congress intended to ensure that all students,
regardless of sex, have equal access to education. Title IX places the obligation on schools—not
students—to provide educational programs and activities free from sex discrimination, sexual
harassment, and sexual violence. A school’s compliance with Title IX is not limited to
responding appropriately to individual reports or formal complaints filed by students. Instead,
schools have an affirmative legal obligation to stop harassment, eliminate hostile educational
environments, prevent recurrence of harassment, and remedy its effects not only on those
subjected to sexual harassment, but on the entire student body.29
        Consistent with the purpose of the law, any Title IX regulation should focus on
maximizing student access to an education free of sexual discrimination, harassment, assault,
stalking, and domestic violence.30 Yet the proposed rule does the opposite. It prioritizes reducing
the number of Title IX investigations a school conducts, flipping Title IX on its head. It narrows
the scope of schools’ responsibility, contrary to decades of established law and practice, and
ignores the reality of how sexual harassment affects a student’s access to education. It will chill
reporting of sexual harassment—which is already severely underreported—by imposing onerous
burdens on students who seek to report sexual harassment and to vindicate their right to an equal
education. It will make the standard for non-compliance so high that only schools who
deliberately and intentionally flout the law will be required to take even the most basic remedial
and preventative action, leaving many students without recourse or help from their school. And it
will allow systemic harassment and toxic campus cultures to flourish by removing schools’ well-
established obligation to seek out and remedy such violations.
        Equally concerning, the proposal blurs the lines between the procedures governing
criminal proceedings and those applicable to non-criminal proceedings under Title IX. As a civil
rights statute, Title IX is focused on ensuring equal access to educational programs and activities,
not denying life and liberty to the guilty. In non-criminal proceedings, both parties are treated
equally, with neither side receiving greater procedural protections than the other and with
procedures designed to find the truth when the parties dispute the facts. But the proposed rule
provides greater protections to respondents, and imposes significant and inappropriate burdens
on complainants. Criminal procedures and protections do not apply in the Title IX context.



        29
           See generally Gebser v. Lago Vista Indep. Sch. Dist., 524 U.S. 274, 288 (1998) (“In the event
of a violation, [under OCR’s administrative enforcement scheme] a funding recipient may be required to
take ‘such remedial action as [is] deem[ed] necessary to overcome the effects of [the] discrimination.’
§106.3.”); U.S. Dep’t of Educ., Off. for Civil Rights, Revised Sexual Harassment Guidance: Harassment
of Students by School Employees, Other Students, or Third Parties, at 20 (66 Fed. Reg. 5512, Jan. 19
2001) (the “2001 Guidance”).
        30
          The Violence Against Women Act, 42 U.S.C. 12291, recognizes the need to protect against
domestic violence, assault, and stalking. Similarly, it is appropriate for the implementation of Title IX to
recognize that domestic violence, assault, and stalking may impermissibly restrict access to educational
opportunities on the basis of sexual discrimination.


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        At the end of the day, Title IX sets the floor—not the ceiling—on what schools must do
to provide non-discriminatory education to all their students. Any Title IX regulation should
encourage schools to uncover and prevent any harassment that negatively affects a student’s
access to education—not incentivize schools towards willful ignorance. And any Title IX
regulations certainly cannot bar state and local governments and schools from responding more
robustly to campus sexual harassment, or interfere with schools’ compliance with other
applicable federal, state, and local laws and policies that require such a response. Schools must
continue to enjoy a right to establish codes of conduct and protections for students that go
beyond what Title IX requires.
         Working with the Department’s Office for Civil Rights (OCR), many schools across the
country have developed Title IX procedures that are fair to all parties, that reflect each school’s
unique circumstances, and that further the statute’s anti-discrimination mandate. In many places,
the proposed rule subverts these carefully refined policies. The Department’s proposal is based
on the misguided belief that schools are facing a torrent of frivolous Title IX complaints, but the
effect will be to reduce the filing of bona fide complaints. The proposed rule introduces new
biases into the process, imposes uniform requirements ill-suited to many schools’ circumstances,
and undermines the goal of a discrimination-free campus. The Department’s proposal would
reverse practices endorsed by both Democratic and Republican administrations;31 contravene
Supreme Court and other legal precedent and requirements, including the mandates of the APA;
ignore the reality of where campus sexual assault occurs; impose onerous burdens on
complainants; and run contrary to Title IX itself and other federal laws. The result will chill
reporting of sexual harassment and prevent schools from effectively addressing its insidious
effects.
        It is vital that the Department’s regulations support schools in fulfilling their Title IX
obligations. As the Department noted in 2001, a “grievance procedure applicable to sexual
harassment complaints cannot be prompt or equitable unless students know it exists, how it
works, and how to file a complaint.”32 But the Department lacks statutory authority to issue
regulations, such as the proposed rule, that would impede enforcement of Title IX and limit
schools’ ability to rid their programs and activities of sex discrimination. Title IX mandates that
no student “be excluded from participation in, denied benefits of, or be subjected to
discrimination under any education program or activity” on the basis of sex.33 And the
Department’s instruction from Congress is to “effectuate” this anti-discrimination mandate.34 By
effectively mandating ceilings to schools’ Title IX investigations and tilting grievance


        31
          E.g., 2001 Guidance; U.S. Dep’t of Educ., Off. for Civil Rights, Dear Colleague Letter (Jan.
25, 2006) (the “2006 DCL”); 2011 DCL.
        32
             E.g., 2001 Guidance at 20.
        33
             20 U.S.C. § 1681(a).
        34
             20 U.S.C. § 1682.


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procedures against complainants, the rule undermines Title IX under the guise of enforcing it.
The Department may not promulgate regulations that limit the effectiveness of the statutory
mandate or hinder schools’ efforts to combat discrimination even more vigorously than the
statute requires.
II.     The Department of Education’s Title IX Standards Are Contrary to Title IX and
        Weaken Students’ Protections Against Sexual Harassment and Violence.
         The Department has proposed a general standard for the sufficiency of a school’s
response to sexual harassment that would mark a significant retreat from decades-long,
bipartisan efforts to combat sexual harassment and its impact on equal access to education.
Proposed § 106.44(a) would provide that “[a] recipient with actual knowledge of sexual
harassment in an education program or activity of the recipient against a person in the United
States must respond in a manner that is not deliberately indifferent.” This proposed standard—as
well as the proposed definitions of “sexual harassment,” “actual knowledge,” “program or
activity,” and “deliberate indifference”—depart from current law and policy without any sound
justification. As a result, the proposed rule does not effectuate the anti-discrimination mandate of
Title IX as it applies to sexual harassment; rather, the rule would undermine it.
        The Department’s stated reason for proposing this rule is that “the administrative
standards governing recipients’ responses to sexual harassment should be generally aligned with
the standards developed by the Supreme Court in cases assessing liability under Title IX for
money damages in private litigation.” 83 Fed. Reg. at 61,466. But the Department’s “alignment”
of the proposed rule with Supreme Court precedent is only partial and arbitrarily selective,
incorrect as a matter of law, and unreasonable as a matter of policy. This proposal is ill-advised
and should be withdrawn.
        The Department does not point to any unfairness in the previous definition of sexual
harassment, the application of constructive knowledge or agency principles, the requirement that
schools address off-campus conduct, or the reasonableness standard—all of which have been in
place for decades (and many of which continue to apply under Title VII35). The Department
reverses course and removes protection for student subject to sexual assault based on an
unreasoned desire to equate Title IX government investigations with private civil actions for
money damages.
        The Supreme Court distinguishes between the Department’s administrative enforcement
of Title IX and its decisions involving monetary damages actions. Unlike private civil money
damages cases, the risk of significant monetary damages resulting from an OCR Title IX
investigation is substantially reduced. This is because “Title IX requires OCR to attempt to


        35
            Title VII of the 1964 Civil Rights Act prohibits employment discrimination based on race,
color, religion, sex and national origin. 42 U.S.C. § 2000e et seq.



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secure voluntary compliance” in the first instance.36 In contrast, the Court’s fear in Gebser37 was
allowing private parties “unlimited recovery of damages under Title IX” without actual notice to
the schools.38 In the Department’s administrative enforcement scheme, a school is obligated to
take corrective action, and rarely, if ever, loses its Title IX funding.39 This does not raise the
possibility of large damages awards or significant risk of losing federal funding, which the
Gebser court acknowledged as its “central concern.”40 The Court was concerned that because
Title IX was adopted under the Spending Clause, by simply accepting federal funds schools
would make themselves liable for monetary damages for conduct that they were not only
unaware of, but also that they would have remedied had they been made aware.41 Conversely,
“OCR always provides the school with actual notice and the opportunity to take appropriate
corrective action before issuing a finding of violation.”42 The Department’s application of the
standards for private civil suit damages to Title IX enforcement actions ignores the distinctions
the Supreme Court has drawn between administrative enforcement actions and cases seeking
monetary damages.
        A.        The Proposed Rule Would Narrow the Definition of “Sexual Harassment” In
                  Ways that Would Undermine the Objectives of Title IX.
                  1.      The Proposed Definition of “Sexual Harassment” Would Significantly
                          Depart from Previous Title IX Policy.
        In § 106.44(e)(1), the Department has proposed a narrow definition of “sexual
harassment” that represents a significant departure from its longstanding understanding of the
term. The Department has done so without providing any meaningful justification for the abrupt
change in decades’ worth of consistent policy—which went through a notice and comment
making process—and practice. Proposed § 106.45(b)(3) also requires schools to cease
investigating any complaint of sexual harassment that does not meet the definition.
      In its 1997 Guidance, the Department recognized that sexual harassment results from
conduct that is “sufficiently severe, persistent, or pervasive that it adversely affects a student’s

        36
             2001 Guidance at 15.
        37
             Gebser, 524 U.S. 274.
        38
             Gebser 524 U.S at 286.
        39
             2001 Guidance at 14–15.
        40
          Gebser, 524 U.S at 287. See also Davis Next Friend LaShonda D. v. Monroe Cty. Bd. of Educ.,
526 U.S. 629, 639 (1999); 20 U.S.C. §§ 1682 & 1683 (identifying that among other things, prior to
termination of funds the department shall provide notice of the failure to comply, determine that
compliance cannot be secured by voluntary means, file a written report with the committees of the House
and Senate and wait thirty days, and provide for judicial review of the decision); 2001 Guidance at 14–15.
        41
             Gebser 524 U.S. at 287; See also Davis 526 U.S. at 639; 2001 Guidance at iii–iv.
        42
             20 U.S.C. §§ 1682 & 1683; 2001 Guidance at iv.



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education or creates a hostile or abusive educational environment.”43 After the Supreme Court in
Davis44 established a narrower definition of harassment for money damages actions, the
Department in its 2001 guidance reinforced its interpretation that Title IX prohibits conduct of a
sexual nature that is “severe, persistent, or pervasive.”45 It also reinforced the notion that the
question of whether sexual harassment occurred requires a flexible analysis.46 In 2001, the
Department further recognized sexual harassment includes “unwelcome sexual advances” and
“physical conduct of a sexual nature.”47 The Department has repeatedly emphasized in its
guidance that the prohibition on sexual harassment requires schools to investigate “hostile
environment” harassment48 and to “eliminate discrimination based on sex in education programs
and activities.”49 A prudential assessment is used to determine whether conduct is sufficiently
severe or pervasive.50 According to the Department, “the more severe the conduct, the less the
need to show a repetitive series of incidents.”51 Thus, a single severe incident, or for example,
repeated unwelcome sexual comments and solicitations, could create a hostile environment.
        The Department now seeks to abandon its long-standing policy, backed by case law, in
favor of a definition more restrictive than the Title IX statute and more restrictive than what is
set forth in Gebser and Davis, which was created for the very different context of civil actions
involving money damages. In § 106.44(e)(1), it proposes to require that harassment be severe,


        43
           See U.S. Dep’t of Educ., Off. for Civil Rights, Sexual Harassment Guidance: Harassment of
Students by School Employees, Other Students, or Third Parties, 62 Fed. Reg. 12,034 (Mar. 13, 1997)
(the “1997 Guidance”). As the Supreme Court recognized in Cannon v. University of Chicago, Title IX is
patterned after Title VI, except for the substitution of the word “sex.” 441 U.S. 677, 694-95 (1979). The
Department’s 1994 “Racial Incidents and Harassment Against Students at Educational Institutions” is
another example of this consistent policy, as it sets forth the same definition of harassment for Title VI
claims on the basis of race, color, or national origin. 59 Fed. Reg. 11,448, 11,449 (Mar. 10, 1994) (“A
violation of Title VI may also be found if a recipient has created or is responsible for a racially hostile
environment --- i.e., harassing conduct (e.g., physical, verbal, graphic, or written) that is sufficiently
severe, pervasive or persistent so as to interfere with or limit the ability of an individual to participate in
our benefit from the services, activities or privileges provided by a recipient.”).
        44
             526 U.S. 629 (1999).
        45
             2001 Guidance at v.
        46
            2001 Guidance at vi (“We also believe that the factors described in both the 1997 guidance and
the revised guidance to determine whether sexual harassment has occurred provide the necessary
flexibility for taking into consideration the age and maturity of the students involved and the nature of the
school environment.”).
        47
             2001 Guidance at 2.
        48
             2001 Guidance at 5–7.
        49
             2001 Guidance at i.
        50
             2001 Guidance at 6.
        51
             2001 Guidance at 6.



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pervasive, and objectively offensive for administrative enforcement of Title IX claims, thus
adding a requirement that the conduct be objectively offensive and removing the possibility that
a violation could be found on any one of three bases—the severity, the persistence, or the
pervasiveness of the misconduct. In this part, it adopts part of the definition from the Court’s
requirements for sexual harassment in money damages actions. However, the Department also
proposes to require that the harassment “effectively den[y]” the individual access to the school’s
education program or activity. Proposed § 106.44(e)(1)(ii). This is a sea change from the statute,
which states that victims should not “be excluded from” or “denied” the benefits of an
educational program or activity and from the Supreme Court’s definition, which requires the
harassment to “deprive” a victim of access to educational opportunities or benefits to be
actionable.52 By requiring that the harassment “effectively deny” the victim of equal access to
educational programs or activities, the Department deviates significantly from its Title IX
authority.
        In its NPRM, the Department states its belief, without justification, that “responses to
sexual harassment should be generally aligned with the standards developed by the Supreme
Court” in private litigation for damages. 83 Fed. Reg. at 61,466. The Department extols the
virtue of a uniform standard and states that the Court’s decisions are rooted in textual
interpretation of Title IX. Id. However, in doing so, the Department ignores both the uniformity
with which sexual harassment has long been defined and enforced under both Title IX and Title
VII, as well as the Supreme Court’s own acknowledgment that administrative enforcement of
Title IX can be more flexible than the Court’s decisions regarding private money damages.53
        The Department also ignores the prudential considerations that the Supreme Court
identified in developing the standard for a civil suit for damages where Congress has not spoken
on an issue, which are inapplicable in the administrative enforcement context. The Gebser court
identified that while Congress expressly authorized administrative enforcement of Title IX, it did
not expressly authorize either civil actions or the right for individual parties to obtain damages in
court. Rather, the Supreme Court identified these rights by implication.54 The Department cannot

        52
             Davis, 526 U.S. at 650.
        53
          Davis, 526 U.S. at 639 (“Federal Departments or agencies . . . may rely on any . . . means
authorized by law . . . to give effect to the statute’s restrictions.”) (internal quotations omitted); Gebser
524 U.S. at 292 (stating that the Department of Education could administratively require the school to
promulgate a grievance procedure because “[a]gencies generally have authority to promulgate and
enforce requirements that effectuate the statute’s non-discrimination mandate . . . even if those
requirements do not purport to represent a definition of discrimination under the statute.”) (internal
quotations and citations omitted). See supra Section II.
        54
          See Gebser 524 U.S. at 292 (acknowledging the power of the Department to “promulgate and
enforce requirements that effectuate [Title IX’s] nondiscrimination mandate, which are distinct from
circumstances giving rise to a civil action for monetary damages); id. at 289 (discussing the difference
between the “statute’s express system of enforcement to require notice to the recipient and an opportunity
to come into voluntary compliance” and a “judicially implied system of enforcement” that “permits



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lawfully improperly restrict the enforcement and application of Title IX based on its
misapplication of Supreme Court precedent.
         Moreover, although Title VII does not provide a perfect analogy to Title IX, in this
instance, it is instructive. Title VII regulations describe workplace harassment as “[u]nwelcome
sexual advances, requests for sexual favors, and other verbal or physical conduct of a sexual
nature.”55 The Supreme Court has reaffirmed the unwelcome component of harassment stating
that “[t]he gravamen of any sexual harassment claim is that the alleged sexual advances were
unwelcome.”56 The Supreme Court has also reaffirmed that to create a hostile environment the
harassment can be either severe or pervasive, such that it either limits or alters the conditions of
employment. In adopting the broader definition of sexual harassment for Title VII, the Court
recognized that Congress had explicitly authorized a civil action in damages. The Court thereby
further reinforced that its decisions in Gebser and Davis are limited to civil actions in damages,
where Congress has not spoken, but do not extend to Federal agency enforcement of the statute,
where Congress’ clear mandate is to affirmatively “‘protect’ individuals from discriminatory
practices carried out by recipients of federal funds.”57
        We are also concerned because Title VII prohibits gender-based harassment that is not
sexual, which the Department has also consistently recognized under Title IX in its policy
guidance and its enforcement practices.58 This interpretation is consistent with the text and
purpose of Title IX and Supreme Court cases interpreting Title VII in the employment context.59
Despite this, the proposed regulations do not specifically address the prohibition against gender-
based harassment. Thus, we recommend that, in issuing the final rule, the Department state
explicitly that “unwelcome conduct on the basis of sex,” in § 106.44(e)(1)(ii), covers all sex-
based conduct.
       Once again, by disregarding Supreme Court precedent and Title VII in its formulation of
the proposed rule, the Department has embraced the notion that students in a school environment

substantial liability without regard to the recipient’s knowledge or its corrective actions upon receiving
notice”).
        55
             29 C.F.R. § 1604.11(a).
        56
             Meritor Savings Bank v. Vinson, 477 U.S. 57, 68 (1986) (internal quotation marks omitted).
        57
             Gebser, 524 U.S. at 287.
        58
           2001 Guidance at v; U.S. Dep’t of Educ., Off. for Civil Rights, Dear Colleague Letter Re: Title
IX Coordinators (Apr. 24, 2015), https://www2.ed.gov/about/offices/list/ocr/letters/colleague-201504-
title-ix-coordinators.pdf (“In addition, a recipient should provide Title IX coordinators with access to
information regarding . . . incidents of sex-based harassment. Granting Title IX coordinators the
appropriate authority will allow them to identify and proactively address issues related to possible sex
discrimination as they arise.”).
        59
          See, e.g., Oncale v. Sundowner Offshore Serv., Inc., 523 U.S. 75, 81–82 (1998); EEOC, Sex-
Based Discrimination, https://www.eeoc.gov/laws/types/sex.cfm (“Harassment does not have to be of a
sexual nature, however, and can include offensive remarks about a person’s sex.”).


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should be unprotected from sex-based harassment, even though they would be protected in the
employee-employer context. The Department lacks authority to carve out exclusions to this
landmark civil rights legislation not drafted in statute and inconsistent with courts’ precedent.
               2.      The Proposed Definition of “Sexual Harassment” Would Fail to
                       Account for the Context in Which Sexual Harassment Occurs.
         The Department’s proposed definition of “sexual harassment” is drafted to preclude
schools, in many circumstances, from addressing hostile environment harassment, an important
component of the schools’ educational responsibilities and the Department’s enforcement
responsibilities. The requirement that harassment be severe, pervasive, and objectively offensive
fails to take into account how harassment in a school setting frequently arises in a gradually
escalating manner. Isolated and infrequent harassing behavior can become pervasive over time if
left uncorrected, but the definition in the proposed rule does not require any remedial action until
smaller problems have become larger, more significant ones. Failure to promptly address
potential hostile environments could engender distrust in the institutions’ ability to address
sexual harassment on campus and create situations where the conduct that could have been
prevented has exploded into something much more severe and potentially dangerous. This could
increase liability under other legal theories, where a school could have stopped the conduct from
escalating much sooner. Many schools are concerned that if they are not permitted to address
conduct under Title IX until it becomes sufficiently severe, pervasive, and objectively offensive,
they will fail to proactively avoid potential liability and fail to respond adequately to many
harassing behaviors and will therefore be unsuccessful in establishing a welcome educational
environment, free from gender discrimination.
        Likewise, the severity requirement may exclude, for example, a situation in which the
same group of students repeatedly makes unwelcome sexual comments or derogatory sex-based
comments at multiple women walking by a fraternity house, thereby causing each of those
women to alter their walking path. Even though the conduct is persistent, the school might not
consider the offensive behavior severe enough or pervasive enough to warrant remedial action,
given the one-time nature of the act as experienced by each of the women. But under Title IX, a
school should address sexual harassment affecting multiple students before the harassing
behavior escalates to the point where it is severe, pervasive, and objectively offensive for an
individual student.60
        Finally, the Department acknowledges that employee-on-student harassment includes
instances where the provision of some aid or benefit is made contingent upon an individual’s
participation in unwelcome sexual conduct. However, the proposed rule improperly restricts this
type of misconduct to employee-on-student conduct only. Students may engage in quid pro quo

       60
          2001 Guidance at 13–14 (“In other cases, the pervasiveness of the harassment may be enough
to conclude that the school should have known of the hostile environment––if the harassment is
widespread, openly practiced, or well-known to students and staff.”).


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harassment as well. There are circumstances in which, for example, a student conditions
assistance with studying on unwelcome sexual conduct. Likewise, students in positions of
authority, such as teaching assistants or resident advisors, as well as students serving on boards,
student government, clubs, or other activities, may condition the provision of aid or a school
benefit on engaging in unwelcome sexual conduct. Conduct of this type contributes to a hostile
sexual environment for students, and is undoubtedly a type of sexual harassment against which
Title IX should protect.
                  3.       The Proposed Definition of “Sexual Harassment” Would Chill
                           Reporting.
        The rate of student reporting of incidents of sexual harassment in grades K-12 and on
college campuses is already exceedingly low.61 Survivors often fail to report sexual harassment
as a result of trauma (13 percent of female sexual assault survivors attempt suicide62 and 34
percent of college survivors drop out of college),63 lack of confidence in the institution’s
protection and procedures, and lack of knowledge in the processes offered.64
         A heightened requirement for sexual harassment will exacerbate the factors that prevent
students from reporting the harassment they experience. Many students would question whether
institutions will take their experiences seriously. Some will wonder whether their harassment
will be seen as sufficiently severe by the school to warrant a response. And in many cases,
individuals subjected to sexual harassment will not know whether the offensive conduct that they
experienced was pervasive or an isolated event. The complicated definition of sexual harassment
may also confuse students, many of whom already report a lack knowledge about or
understanding of the Title IX grievance processes.65 This restrictive definition turns the purpose
of Title IX—to prevent and combat sexual violence—on its head. It fosters confusion and
distrust among students and will likely chill reporting of sexual harassment, thus restricting


        61
             See supra Section I.
        62
          RAINN, Victims of Sexual Violence Statistics, https://www.rainn.org/statistics/victims-sexual-
violence. By comparison, a national survey estimated that 0.5 percent of adults 18 years or over attempted
suicide nationally. See American Foundation for Suicide Prevention, Suicide Statistics, https://afsp.org/
about-suicide/suicide-statistics/.
        63
          Senate Health, Education, Labor & Pensions Committee, Letter from Senators Murray and
Hassan, Advocates and Survivors of Sexual Assault Urge Secretary DeVos to Withdraw Title IX Rule,
Urge Students and Survivors to Make Their Voices Heard (Nov. 28, 2018), https://www.help.senate.gov/
ranking/newsroom/press/murray-hassan-advocates-and-survivors-of-sexual-assault-urge-secretary-devos-
to-withdraw-title-ix-rule-urge-students-and-survivors-to-make-their-voices-heard.
        64
          Rutgers, The State University of New Jersey, Center on Violence Against Women and
Children, #iSpeak Student Experience, Attitudes and Beliefs about Sexual Violence Results, New
Brunswick, 1, 31 (2015) (hereinafter “Rutgers Survey”), https://socialwork.rutgers.edu/centers/center-
violence-against-women-and-children/research-and-evaluation/campus-climate-project/reports-findings.
        65
             Rutgers Survey, supra note 64, at 31–32.


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schools’ knowledge of harassment on campus and hampering their ability to address and prevent
it.
        B.        The Proposed Rule Would Inappropriately Limit Schools’ Obligation to
                  Respond to Sexual Harassment and Violence by Excusing Failures to
                  Respond to Conduct that Does Not Occur “In an Education Program or
                  Activity.”
        Proposed § 106.44(a) requires a response only to “sexual harassment in an education
program or activity.” Proposed § 106.45(b)(3) similarly requires dismissal of Title IX
complaints, even when the conduct alleged would constitute sexual harassment, if the conduct
“did not occur within the recipient’s program or activity.” The proposed regulations thereby
improperly narrow the scope of Title IX and sexual harassment complaints that will be
investigated by focusing on whether the alleged incident(s) occurred in an education program or
activity, rather than focusing on whether the incident(s) gave rise to discrimination in an
educational institution’s program or activity.
        This change in focus directly contradicts the plain language of Title IX. Regardless of
whether an incident giving rise to an alleged Title IX violation itself occurs in an education
program or activity, Title IX protects students who, based on sex, are “excluded from
participation in [or] . . . denied the benefits of . . . any education program or activity receiving
Federal financial assistance.”66
        In keeping with the clear statutory text, both courts and the Justice Department have
concluded a school may violate Tile IX by failing to respond adequately to alleged misconduct
that occurred in a location outside the control of the school if that conduct causes a hostile
environment in the education setting. As the U.S. Justice Department itself has explained: “When
assessing whether off-campus rape creates a hostile environment on campus, courts have
recognized that the pernicious effects of rape by another student are not limited to the event itself
and can permeate the educational environment. This is due to the daily potential of the victim
student encountering her assailant as they both live and learn at the college.” 67
       The Department’s proposed change is also an unjustified departure from preexisting and
continuously repeated Department policy in effect since at least 2001. In 2001, the Department
published guidance after engaging in a notice and comment process, stating that in determining
whether a hostile environment exists, the educational institution must determine whether “the
conduct denies or limits a student’s ability to participate in or benefit from the program based on

        66
             20 U.S.C. § 1681(a).
        67
          Statement of Interest of the United States 12–13, Weckhorst v. Kan. State Univ., No. 16-2255
(D. Kan. filed July 1, 2016), ECF 26 (citations omitted) (collecting cases); see also id. at 11–14;
Statement of Interest of the United States 12–21, Farmer v. Kan. State Univ., No. 16-2256 (D. Kan. filed
July 1, 2016), ECF 32; Doe 12 v. Baylor Univ., 336 F. Supp. 3d 763, 780-81 (W.D. Tex. 2018).



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sex.”68 On January 25, 2006, the Department reiterated its support for existing policy by
directing educational institutions to rely on the 2001 Guidance for their obligations regarding
preventing and remedying sexual harassment.69
        In 2011, the Department reiterated that schools have an obligation to assess whether there
is a nexus between alleged off-campus harassment and the denial of access to an education
program or activity. In this regard, the Department stated that “[s]chools may have an obligation
to respond to student-on-student sexual harassment that initially occurred off school grounds,
outside a school’s education program or activity . . . [b]ecause students often experience the
continuing effects of off-campus sexual harassment in the educational setting [and, therefore]
schools should consider the effects of the off-campus conduct when evaluating whether there is a
hostile environment on campus.”70 Then on September 22, 2017—in this current
administration—the Department stated that, “schools are responsible for redressing a hostile
environment that occurs on campus even if it relates to off-campus activities.”71 This
longstanding policy is also consistent with the Supreme Court’s interpretation of Title IX.72 By
confining Title IX’s jurisdiction to only sexual harassment and assault that occurred in the first
instance “within” an education program or activity, § 106.45(b)(3), the proposed regulation
ignores this precedent and is flatly inconsistent with the statutory text.73
        Furthermore, there are a number of situations that underscore the need to evaluate the
effect of conduct that occurs off-campus or outside an education program or activity to be
consistent with Title IX protections. For example, a student forced to perform a sex act by
students from his or her school at an off-campus location should be able to pursue Title IX
remedies to protect her or him from further harassment on campus. Similarly, a student who is
sexually abused by a teacher or professor near campus or off-campus should be protected by
Title IX. In addition, an athlete who was sexually assaulted by a school trainer or doctor at any


        68
             2001 Guidance at 5.
        69
             2006 DCL at 6.
        70
             2011 DCL at 4.
        71
             U.S. Dep’t of Educ., Off. for Civil Rights, Q&A on Campus Sexual Misconduct, 1 n.3 (Sept.
22, 2017).
        72
           See, e.g., Davis, 526 U.S. at 644 (the statute “confines the scope of prohibited conduct based on
the recipient’s degree of control over the harasser and the environment in which the harassment occurs.”);
Gebser, 524 U.S. at 278, 279 (assuming sexual harassment of the student complainant by the teacher
under Title IX, even where sexual contact occurred in her home while giving her a book and “never on
school property” but during school time).
        73
           Requiring a recipient to only respond “to conduct that occurs within its ‘education program or
activity,’” 83 Fed. Reg. at 61,468 (emphasis added), is also directly contradictory to proposed
§ 106.44(a), which requires a response from “[a] recipient with actual knowledge of sexual harassment in
an education program or activity.” Id. (emphasis added).



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time should be protected by Title IX. This is so even where the sexual assault occurred off
campus—in the homes of the athletes who used the University’s facilities, as well as other
locations not operated or controlled by the University, such as hotels during events. If the
proposed rule becomes final, school districts and Universities would be required to dismiss
similarly egregious Title IX complaints simply because they occurred off-campus, even if they
result in a hostile educational environment.
        The Department’s focus on the context in which sexual misconduct itself occurs also
contradicts studies showing that off-campus conduct may create a hostile environment on
campus, thus leading a student to be denied the benefits of an educational program or activity.74
Even the studies relied on by the Department to justify the current policy changes, which are
used to highlight the costs of sexual assault, do not distinguish between on- and off-campus
assault.75 Universities themselves acknowledge the effect off-campus activities can have on a
student’s on-campus learning.76 It is arbitrary to assume that only harassment that occurs in an
educational program or activity affects a student’s access to the educational program or activity.
        It is similarly arbitrary to limit Title IX’s protections to activity occurring only in an
educational program or activity when the Clery Act, 20 U.S.C. § 1092 (f), specifically recognizes
that information regarding crimes occurring on “[p]ublic property . . . immediately adjacent to
and accessible from the campus” is relevant to understand the crime statistics for the campus.77
The Department attempts to clarify that “Title IX’s ‘education program or activity’ language
should not be conflated with Clery Act geography [because] these are distinct jurisdictional
schemes,” but this is a distinction without any obvious or appropriate purpose. It does not make
sense to alert potential students to, for example, a rape that may occur outside the specific
confines of an educational program or activity if that same incident would never affect the
student’s access to the educational program or activity.
        In sum, the inquiry as to whether conduct that occurs off-campus or outside a school’s
program and activities creates a hostile environment under an education program or activity on
the basis of sex is fact-specific and requires a school’s careful assessment. The language of the


        74
           See, e.g., Christopher P. Krebs, Ph.D., et al., The Campus Sexual Assault (CSA) Study, National
Institute of Justice 5–19 (Oct. 2007), https://www.ncjrs.gov/pdffiles1/nij/grants/221153.pdf (finding two-
thirds of campus sexual assaults occur off-campus but can still severely impact a student’s access to the
educational program).
        75
          83 Fed. Reg. at 61,485 (citing Cora Peterson et al, Lifetime Economic Burden of Rape Among
U.S. Adults, 52 AM. J. of Preventative Med. 691 (2017)).
        76
            See, e.g., Isa Gonzalez, Title IX Coordinator Discusses How Proposed Education Dept.
Reforms Could Impact UD, Flyer News (Dec. 17, 2018) (quoting University of Dayton’s Title IX
coordinator as explaining “[e]ven [for] students who live in landlord housing or near the campus
footprint, their experience is often as if they are a residential student.”), https://tinyurl. com/ybboqxn2.
        77
             34 C.F.R. § 668.46.



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proposed regulation ignores this, in contravention of existing and long-held Department policy,
as well as judicial, OCR, and Justice Department interpretations.
       C.         The “Actual Knowledge” Standard is Too Restrictive.
                  1.     The Proposed Rule Undermines the Purpose of Title IX and Creates
                         an Improper Incentive to Willfully Ignore Sexual Harassment
                         Because it Requires Schools to Respond Only if They Have “Actual
                         Knowledge” of the Harassment.
         Previous Department policy required schools to address all student-on-student sexual
harassment allegations if the school knew or reasonably should have known about them.78 The
Department has also long-imputed notice to a school when “any employee with authority to take
action to redress the harassment, who has the duty to report to appropriate school officials . . . or
an individual who a student could reasonably believe has this authority or responsibility” has
notice of the harassment.79 Finally, the Department has required agency principles (i.e., vicarious
liability) to apply to most instances of employee-on-student harassment.80 As the Department has
previously recognized, including the “good judgment and common sense of teachers and school
administrators” is key to judging compliance with Title IX.81
        Now, absent adequate justification, the Department proposes to eliminate these elements
of notice. Under proposed § 106.44(e)(6), a school lacks actual knowledge unless allegations are
brought to the attention of an employee with the authority to institute corrective measures (or
when a formal complaint is filed with the Title IX Coordinator). Teachers at the K-12 level are
deemed officials with the authority to institute corrective measures, but not at the university
level. Furthermore, the proposed rule eliminates vicarious liability for employee-on-student
sexual harassment, requiring the “actual knowledge” standard in this context as well. In all
contexts, if the respondent is the only one with notice, actual knowledge is not imputed to the
school.
        By defining “actual knowledge” narrowly and ignoring situations in which a school
clearly ought to have known of sexual harassment, the proposed rule virtually abandons Title
IX’s overriding goal of addressing hostile environments, eliminating sexual harassment, and
creating an educational environment free from discrimination on the basis of sex. The actual
knowledge requirement shifts the burden from schools to students. Instead of requiring schools
to address instances of sexual harassment of which they are aware because an employee who a
student would reasonably believe has the authority to report or assist has received notice, the
proposed rule would flip Title IX on its head and require students to report sexual harassment to

       78
            2001 Guidance at 13.
       79
            Id.
       80
            2001 Guidance at 10.
       81
            2001 Guidance at ii.


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authority figures whom they are generally hesitant to seek out or of whom they may not be
aware.
         The proposed rule creates an improper incentive structure for schools that discourages
them from uncovering allegations and instead incentivizes them to shield themselves from
learning about wrongdoing. In the very different context of civil suits for damages, the dissent in
Gebser warned specifically about this phenomenon, stating that as long as schools “can insulate
themselves from knowledge about this sort of conduct, they can claim immunity from damages
liability.”82 The ongoing prospect of administrative enforcement of Title IX, even in the absence
of “actual knowledge” of harassment, has deterred schools from ignoring problems. The
Department now proposes to do away with that incentive. Instead, the proposed rule could create
a situation where multiple employees, such as teachers (at the university level), resident advisors,
campus medical personnel, school resource officers, or guidance counselors are fully aware of
allegations of sexual harassment, but absent an explicit obligation to report to an official with
authority to institute corrective measures, the school would not have a responsibility to
investigate or take remedial action.
        It is clear that in crafting the proposed rule, the Department ignored the evidence that
students subjected to sexual harassment hesitate to report to officials with authority to take
corrective action, due to various barriers, including lack of knowledge of reporting procedures,
fear of being disbelieved, or fear of facing negative repercussions and additional harassment.83
Campus climate surveys demonstrate that those subjected to sexual harassment often report to
close acquaintances, and officials may find students reluctant to formally report.84 Only 17
percent of students in one survey reported disclosing sexual harassment incidents to formal
campus resources, while 77 percent disclosed to close friends and 52 percent reported to
roommates.85 However, the Department now requires students to directly report to specific
authorities or file formal complaints. The proposed rule should not disregard such clear evidence
that reporting on campus is complex and requires schools to be more vigilant in addressing
sexual harassment.




       82
            Gebser 524 U.S. at 298.
       83
            Rutgers Survey, supra note 64, at 32.
       84
            Id.
       85
            Rutgers Survey, supra note 64, at 31–32.



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                  2.     Constructive Knowledge and Agency Principles Should Apply to the
                         School’s Notice of Sexual Harassment and Violence.
       The Department has not demonstrated any unfairness with the constructive knowledge or
agency principles it has long-implemented, and there is no adequate justification for reversing
course now.86
        The Department has long required that a school should investigate, if a school knew or
reasonably should have known of sexual harassment, whether by employees, students, or third
parties.87 This standard provides the required flexibility for universities since a constructive
knowledge standard considers the school’s size, its available resources, the public nature of the
harassment, and the status of the individuals to whom the harassment was reported. Importantly,
the “should have known” standard does not impute knowledge for isolated instances that a
school, taking reasonable care, would not be aware of. However, a constructive notice standard
prevents schools from willfully ignoring obvious signs of harassment, such as graffiti in public
places,88 systemic abuse of power by a teacher, constant unwelcome cat-calling, or other abusive
behavior of a sex-based nature at known locations. Requiring schools to act on constructive
knowledge ensures investigations into a hostile environment or culture of harassment, which is a
primary purpose of Title IX. Constructive knowledge has been the Department’s long-standing
position in Title IX cases, and the Department has put forward no convincing rationale for
abandoning this eminently sound approach.89
       In the proposed rule, the Department also reverses course on agency principles, upending
years of federal government positions on this important issue and even flouting Supreme Court

        86
           If the Department nevertheless adopts the proposed “actual knowledge” standard, it should
adopt mandatory, prompt reporting requirements for all non-confidential employees, so that Title IX
Coordinators and other officials with authority to institute corrective measures are notified of sexual
harassment more quickly. Mandatory reporters should include those individuals are considered
“responsible employees” under current policy. See 2001 Guidance at 13. At the same time, students
should have people to confide in, while knowing that their discussions will be kept confidential.
Following best practices and prior Department guidance and practice schools should be required to make
public (1) the individuals to whom students can report confidentially with no fear of being required to file
a formal complaint and (2) the individuals who are required to report harassment to officials with
corrective authority. E.g., U.S. Dep’t of Educ., Off. for Civil Rights, Questions and Answers on Title IX
and Sexual Violence, at D-4, E-13, 16, 22 (Apr. 29, 2014, withdrawn Sept. 22, 2017) (the “2014 Q&A”).
Converting Department policy into a proposed rule could help to mitigate (but not resolve) the problems
with the proposed “actual knowledge” standard.
        87
             2001 Guidance at 13–14.
        88
             2001 Guidance at 14
        89
          See 2001 Guidance at 14 (“If a school otherwise knows or reasonably should know of a hostile
environment and fails to take prompt and effective corrective action, a school has violated Title IX even if
the student has failed to use the school’s existing grievance procedure or otherwise inform the school of
the harassment.”)



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guidance.90 Agency principles should continue to apply to employee-on-student harassment, just
as they do to supervisor-on-employee harassment. The Department previously explained that
notice to a school is triggered when the employee is or appears to be acting in the context of
carrying out his or her responsibility to students.91 In Gebser, the U.S. Department of Justice
stated that it is appropriate to hold a school responsible in such instances because “the teacher
was aided in accomplishing the harassment by his agency relationship with the recipient or his
apparent authority.”92 In light of this, it is particularly disturbing that the proposed rule exempts
the school from actual knowledge when the only person with actual knowledge is also the
respondent. This requirement would apply to the K-12 context as well. It sets up a scenario in
which a student would have no valid Title IX claim when any school employee, including a
school leader such as a superintendent, principal, or vice principal, repeatedly harasses or
sexually assaults them in class or during school-related activities, unless the misconduct was
known by another responsible school official.93 This proposed rule must be stricken. As
indicated in prior guidance, a school should be required to address conduct by an individual
taking advantage of the position of authority and concomitant access to students afforded to them
by the education institution, regardless of the school’s notice.94
        The 2001 guidance articulated the standards and possible scenarios for applying agency
principles in situations involving employee-on-student harassment.95 The guidance appropriately
recognized that the application of vicarious liability to schools would require a determination
that the employee was acting or appearing to act in the context of the employee’s duties, and it
set out multiple potential factors to consider before imposing liability.96 That careful approach,
based on evidence and experience, should not be reversed without ample justification. Requiring
schools to take action based on constructive knowledge and agency principles also provides an
opportunity to protect schools from later dealing with situations that could have been resolved
with much less damage had the school acted more quickly to alleviate the problems.



         90
              Franklin, 503 U.S. 60 (implying that agency principles may be appropriate in the Title IX
context).
         91
              2001 Guidance at 10.
         92
              Gebser, 524 U.S. 274, No. 96-1866, Statement of Interest of the United States, 9 (filed Jan. 16,
1998).
         93
           See, e.g. Salazar v. South San Antonio Independent Sch. District, 2017 WL 2590551 (5th
Circuit), cert. denied, 138 S. Ct. 369 (holding that district could not be liable under Title IX for principal
of elementary schools repeated sexual molestation of an elementary school student, because the principal
who engaged in the molestation was the only one aware of the conduct).
         94
              2001 Guidance at 10.
         95
              2001 Guidance at 10-12.
         96
              2001 Guidance at 10-11.



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        Once again, Title VII is instructive. Under Title VII, the definition of “employer”
includes any “agent of the employer,”97 and courts routinely look to agency principles to
determine employer liability for employee harassment.98 Here, as in other areas of the proposed
regulations, the Department sets up a scenario in which school employees are afforded better
protection from harassment than students, who are far more vulnerable due to their age and
experience. If a school can be held liable for monetary damages for supervisor-on-employee
harassment under Title VII, then surely the Department of Education should require schools to at
least respond to employee-on-student harassment under Title IX. Furthermore, schools arguably
have more responsibility to protect their K-12 students, because they act in loco parentis while
students are in attendance. 99
       The Department has failed to articulate intervening circumstances, facts, or evidence that
would justify a reversal from the application of consistent agency policy and decisions to
employee-on-student harassment. The proposed rule change should not be adopted.
        D.         The Proposed Rule Would Adopt a “Deliberative Indifference” Standard
                   That Is Not Appropriate for Administrative Enforcement of Title IX.
       Since at least 1997, the Department has understood Title IX to require schools to act
reasonably in taking steps to end sexual harassment and prevent its recurrence.100 Specifically,
schools are required to act in a “reasonable, commonsense” manner in addressing sexual
harassment and to take “prompt and effective” steps once they have knowledge of harassment.101
Moreover, the existing regulations, in effect since 1975, have required schools to have
procedures that provide a “prompt and equitable” response to any complaint of sex
discrimination, a requirement that the Department has consistently enforced for decades and
applied to all forms of sex discrimination, including sexual harassment.102
        Under the proposed rule, even a school that responds unreasonably, untimely, and
ineffectively to sexual harassment may avoid repercussions, so long as the school’s response is
not “deliberately indifferent.” Proposed § 106.44(a). And “only” a “response to sexual
harassment” that is “intentionally” and “clearly unreasonable in light of the known
circumstances” will be considered “deliberately indifferent.” Id.


        97
             42 U.S.C. § 2000e(b).
        98
           Vinson at 72 (“[W]e do agree with the EEOC that Congress wanted court to look to agency
principles for guidance in this area.”)
        99
          Veronia School District 47J v. Acton, 515 U.S. 646, 656 (1995) (discussing that the duty is both
“custodial and tutelary”).
        100
              1997 Guidance.
        101
              2001 Guidance at iii, 15
        102
              34 C.F.R. 106.8(b).



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        The Department has failed to justify such a policy change. The NPRM does not point to
any instances in which schools were burdened or unfairly penalized as a result of the
reasonableness standard. To the contrary, the proposed rule neglects the purpose of the
Department’s administrative enforcement of Title IX, which is to provide schools with an
opportunity to correct prior actions in response to sexual harassment and address a hostile
environment moving forward (before they incur liability for damages).103 Rarely does
administrative enforcement lead to the dramatic step of withholding Title IX funding; rather, the
Department’s role is to “make schools aware of potential Title IX violations and to seek
voluntary corrective action.”104 Without some basis for demonstrating that the reasonable care
standard was inadequate or overly burdensome for schools, it is inconsistent with the intent of
Title IX to adopt a standard that is less protective of students who experience discrimination.
        Although the Department purports to draw its “deliberately indifferent” standard from
case law, it misses the mark. Courts have concluded that “[r]esponses that are not reasonably
calculated to end harassment are inadequate.”105 And a failure to investigate alleged sexual
harassment can be unreasonable in light of the circumstances, even absent a formal complaint.106
Again, the requirement that schools not act with deliberate indifference in response to
complaints, as adopted by the courts for money damages actions, is immaterial to the
Department’s administrative enforcement of Title IX.107 The Department should intervene to
ensure schools are responding appropriately to sexual harassment allegations well before the
school would be liable for money damages in a civil suit for its failure to act.
         In addition, students should receive protection from sexual harassment at least equal to
the protection afforded employees in the workplace. Under Title VII, employers (including
schools) are liable for acts of sexual harassment in the workplace unless the employer “can show
that it took immediate and appropriate corrective action.”108 Students are generally more
vulnerable to sexual harassment than adult employees, particularly in grades K-12, since they are
both minors and subject to compulsory school attendance requirements.109 Under the proposed


        103
          See North Haven Bd. of Ed. v. Bell, 456 U.S. 512, 521 (1982) (reiterating that the text of Title
IX should be accorded “‘a sweep as broad as its language.’”).
        104
           2001 Guidance at iii–iv (stating that if OCR finds violations of Title IX, it must first “attempt
to secure compliance by voluntary means.”).
        105
           See Zeno v. Pine Plains Cent. Sch. Dist., 702 F.3d 655, 669 (2d Cir. 2012) (holding that a
university did not engage in efforts that were “reasonably calculated to end [the] harassment”).
        106
            E.g., Feminist Majority Found. v. Hurley, 911 F.3d 674, 696 (4th Cir. 2018) (holding a school
administrator responsible for a claim of retaliation under Title IX, and stating that the retaliation spanned
a sufficient period that the University should have taken “reasonable steps to address it”).
        107
              See supra Section II.
        108
              29 C.F.R. §§ 1604.11
        109
              See supra Section I.


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rule, an employee who is sexually harassed can sue a school for money damages if the school
fails to take immediate and appropriate corrective action, but the Department of Education
cannot take even non-monetary enforcement action against a school that fails to protect a student
from sexual harassment unless the school’s response failed the much higher “deliberate
indifference” standard. Furthermore, graduate students who teach and other student employees of
a school may fall under a complicated enforcement scheme, depending on whether they are
considered “employees” or “students.” The Department should not create this artificial disparity
in the enforcement of sexual harassment prohibitions, which would indicate to students that the
Government takes student safety less seriously than employee safety. If anything, the
Department should afford students greater protection from sexual harassment due to their
vulnerabilities.
       E.      Safe Harbor Provisions Are Inappropriate and Schools Must Investigate Any
               Potential Hostile Environment.
        The proposed rule provides several safe harbor provisions for schools. Taken together
with the deliberate indifference standard, the safe harbor provisions severely curtail the
Department’s ability to meaningfully enforce Title IX’s anti-discrimination objectives. Curtailing
OCR’s ability to independently review comprehensively how schools handle sexual harassment
complaints is contrary to its mandate to investigate compliance with Title IX. The new rule
would incentivize schools to do the bare minimum in enforcement of Title IX, contrary to the
statutory mandate to provide educational programs and activities that are free from harassment.
        The safe harbor provisions take various forms. The first, proposed § 106.44(b)(1),
provides schools a safe harbor from a finding of deliberate indifference if they carry out
grievance procedures consistent with those outlined in the rule in response to a formal complaint.
83 Fed. Reg. at 61,469. Any failure to fairly and adequately implement those procedures in a
manner that is equitable, timely, or effective is seemingly irrelevant. Such a safe harbor erodes
schools’ responsibility to investigate hostile educational environments. This is of particular
concern in the K-12 context where most complaints are taken verbally and informally by a dean,
vice principal or other administrator who plays multiple roles.
        The other safe harbors are equally untenable. Proposed § 106.44(b)(2) provides a safe
harbor to a school where, upon actual knowledge of multiple complaints against the same
respondent, the Title IX coordinator files a complaint on the complainant’s behalf and the school
follows the proposed grievance procedures. The proposed rule, in § 106.44(b)(3), also provides a
safe harbor from a finding of deliberate indifference if a school that has actual knowledge of
sexual harassment, absent a formal complaint, merely offers the complainant supportive
measures. 83 Fed. Reg. at 61,469. Finally, in proposed § 106.44(b)(5), the Department also
prevents OCR from a finding of deliberate indifference solely because OCR would have come to
a different responsibility conclusion. 83 Fed. Reg. at 61,470.
        Title IX imposes an affirmative obligation on schools to ensure that students are not
subject to discrimination on the basis of sex. As a result, the Department has long recognized that


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schools have an obligation to take reasonable steps to prevent harassment “whether or not the
student who was harassed makes a complaint or otherwise asks the school to take action.”110
Consistent with this recognition, the 2001 Guidance made it clear that a school’s obligation to
investigate and respond to a report of harassment does not depend on the filing of a formal
complaint: “Once a school has notice of possible sexual harassment of students––whether carried
out by employees, other students, or third parties––it should take immediate and appropriate
steps to investigate or otherwise determine what occurred and take prompt and effective steps
reasonably calculated to end any harassment, eliminate a hostile environment if one has been
created, and prevent harassment from occurring again.”111 Federal courts have reaffirmed
schools’ affirmative obligation to protect their students from harassment.112
        The proposed rule fails to recognize the obligation of schools to address harassment in
the absence of a formal complaint (unless, of course, a complainant receives written notice of the
available resolution options and, voluntarily and without coercion, decides not to pursue the
complaint). By implication, therefore, it suggests that a school’s Title IX responsibilities are
triggered only when a student begins the formal complaint process. This, of course, is false:
nothing in the language of Title IX supports such a narrow view of a school’s obligations. To the
contrary, Title IX prohibits discrimination on the basis of sex in education programs receiving
federal funds, period. So at a minimum, a school that is put on notice of evidence of harassment,
through whatever means, has an obligation to investigate and, if it determines that harassment is
occurring, take steps to address it and provide notice of the outcome of its process. Any rule
purporting to implement Title IX must make this fact clear: once a school has actual knowledge
of harassment, it must investigate—even if the student has not reported it to the school.
        Any final rule must also make clear that schools are obligated to investigate and address
systemic problems of which they are made aware. The Department has regrettably stepped away
from its own obligation to identify systemic violations of Title IX.113 It should not compound this
error by limiting the obligations of schools to investigate such violations. Incidents of harassment
rarely occur in a vacuum: too often, they are fueled by the presence of a toxic culture or hostile
environment that enables such abuses. Title IX’s prohibition on discrimination on the basis of

        110
              2001 Guidance at 15.
        111
              Id.
        112
            Feminist Majority Found., 911 F.3d at 692 (“We are satisfied that the University was obliged
to investigate and seek to identify those students who posted the threats and to report the threats to
appropriate law enforcement agencies.”); see also Abbott v. Pastides, 900 F.3d 160, 173 (4th Cir. 2018)
(observing that “universities have obligations not only to protect their students’ free expression, but also
to protect their students”).
        113
           E.g., Adam Harris, Memo Outlines Education Dept. Plans to Scale Back Civil-Rights Efforts,
The Chronicle of Higher Education (June 15, 2017), https://www.chronicle.com/blogs/ticker/memo-
outlines-education-dept-plans-to-scale-back-civil-rights-efforts/118937.




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sex thus requires schools that are made aware of systemic discrimination to respond, and to do so
in a manner commensurate to the scope of the problem. By failing to affirmatively state that
schools have such an obligation, the proposed rule rewrites Title IX in a way that is inconsistent
with its plain language and clear purpose.
        In the same vein, creating a safe harbor for merely providing supportive measures to a
student subjected to sexual harassment (or a parent complainant) who was not informed of or
was otherwise unaware of the procedural step of filing a formal written and signed complaint is
particularly unjust. Under the proposed rule, a school with knowledge of sexual assault against a
student cannot be found to have responded inadequately as long as it offered the survivor a
change of class schedule or some other similarly meager support. Deeming a school to have fully
satisfied its Title IX obligations by providing only supportive measures to individuals subjected
to sexual harassment who do not file formal complaints is likely to chill reporting and reduce
investigations into a hostile educational environment, as individuals subjected to sexual
harassment will find the process inadequate and will likely lose trust in the institution’s
processes.
        Additionally, any provision on supportive measures must ban schools from pressuring
students subjected to sexual harassment into accepting supportive measures in lieu of an
investigation or grievance mechanism. The Department should prohibit even subtle incentives to
accept supportive measures over formal adjudications. Any indication of students being steered
or pressured into accepting only supportive measures or being discouraged from pursuing other
options (such as local law enforcement) should be thoroughly investigated by OCR and
remediated by the school.
        Finally, the safe harbors remove OCR’s discretion in Title IX enforcement. OCR’s
independent weighing of the evidence surely is a relevant factor in determining whether a school
has been or is being deliberately indifferent (or unreasonable). Suppose, for example, OCR finds
that, despite adopting the proper procedures for addressing formal complaints, the school’s
decision-makers always find in favor of complainants, or always find in favor of respondents.
Absolute safe harbors remove OCR’s ability to determine a school’s liability if there is a pattern
or practice of shielding respondents or favoring complainants. The Assistant Secretary, after a
thorough investigation, should have the discretion to decide whether a school’s determination of
responsibility was discriminatory, or whether a school’s overall climate is a discriminatory one.
        The Department should remove the safe harbor provisions from the proposed rule.114




        114
           While we strongly oppose the existence of any safe harbor in any final rule, if the Department
nevertheless continues to include them, we strongly recommend any safe harbor incentivize schools to
provide additional protections.



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III.    The Department Should Adopt Policies for Complaints that Maximize Reporting.
        A.         The Department’s Proposed Definition of “Complainant” Is Too Restrictive.
        Proposed § 106.44(e)(2) defines “complainant” as “an individual who has reported being
the victim of conduct that could constitute sexual harassment, or on whose behalf the Title IX
Coordinator has filed a formal complaint.”115 This definition raises many problems.
        Importantly, the proposed definition of “complainant,” in conjunction with the proposed
definition of “formal complaint” (which must be “a document signed by a complainant or by the
Title IX Coordinator”), effectively preclude third parties from filing formal complaints of sexual
harassment, which triggers the recipient’s obligation under the proposed rule to initiate an
investigation or proceedings to address the allegations.116 This is a departure from prior
guidance, which recognized that a school must investigate and take appropriate remedial action
“regardless of whether the student [subjected to sexual harassment], student’s parent, or a third
party files a formal complaint.”117
        The proposed shift in policy regarding who may file a formal complaint of sexual
harassment ignores the realities of how sexual harassment is reported on campus. Only a small
percentage of campus sexual violence is formally reported, for reasons previously articulated.118
And instances of sexual harassment are often communicated to close confidants, who may report
such incidences to appropriate officials. In K-12 schools, instances of sexual harassment or
violence are often reported by a parent or guardian on behalf of a student or another student or
employee witness to the sexual harassment. By eliminating the requirement that schools initiate
investigations in response to information reported by third parties, the Department’s proposal
will result in more harassment going unacknowledged and unaddressed. The proposed definition


        115
           “For purposes of this definition, the person to whom the individual has reported must be the
Title IX Coordinator or another person to whom notice of sexual harassment results in the recipient’s
actual knowledge under [the proposed rule].” These comments address this part of the definition of
“complainant” in their discussion of the “actual knowledge” standard.
        116
            In some States, a parent or guardian could file a formal complaint on behalf of a minor child,
but on this issue, the Department’s proposed rule would defer to state law and local educational practice.
See 83 Fed. Reg. at 61,482.
        117
            2014 Q&A at D-2, 15–16. Existing Department guidance also recognizes that, in some
instances, the survivor may not want the school to proceed with an investigation and appropriately
established several factors for a school to weigh in balancing whether to move forward over a survivor’s
objections. The factors to weigh include the survivor’s wishes along with the school’s duty to provide a
safe and nondiscriminatory environment for all students, the seriousness of the alleged harassment, the
age of the student harassed, whether there have been other reports of harassment against the alleged
harasser, and the rights of the accused individual to receive information about the accuser and the
allegations, where a formal proceeding with sanctions may result. 2001 Guidance at 17-18.
        118
              See supra Section I & Section II.C.



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should be modified to clarify that a third party, such as a witness, parent, guardian, or school
employee, may file a formal complaint.119
        More broadly, the proposed rule will yield results that cannot be squared with schools’
obligations under Title IX and the case law applying it. Schools have a legal obligation to take
reasonable steps to prevent and eliminate sexual harassment, including hostile environment
harassment.120 Yet the proposed rule places the burden on individuals subjected to sexual
harassment to report harassment in a particular manner. In addition, a hostile environment “can
occur even if the harassment is not targeted specifically at the individual complainant. For
example, if a student, group of students, or a teacher regularly directs sexual comments toward a
particular student, a hostile environment may be created not only for the targeted student, but
also for others who witness the conduct.”121 Similarly, a school’s repeated failure to respond
appropriately to allegations of sexual assault may contribute to a hostile environment for students
who have not themselves been the subject of an assault. It is not clear from the Department’s
proposal whether students who have witnessed but who have not been “targeted” by harassment
may qualify as individuals who may file a formal complaint. Consistent with existing policy, the
Department should clarify that these individuals may file formal complaints.
        B.         The Definition of “Formal Complaint” Creates a Barrier to Filing for
                   Complainants, Particularly Underage Students, and Does Not Provide for
                   Reasonable Accommodation.
         Proposed § 106.44(e)(5) defines the “formal complaint,” which must be filed to trigger
most of the protections set forth in the remainder of the regulation, as “a document signed by a
complainant or by the Title IX Coordinator alleging sexual harassment . . . and requesting
initiation of the recipient’s grievance procedure.” Id. This requirement is inconsistent with the
objective of the statute because it creates an unnecessary barrier to obtaining the protections
against discrimination promised unequivocally by Title IX’s text. It is also a departure from the
existing regulations, which require a recipient to establish procedures for addressing “any action
which would be prohibited by” the regulation.122 As applied, a recipient could dismiss a
meritorious complaint of which it has notice or fail to take action solely for immaterial technical
reasons, such as the complaint not being signed or failing to include specific language
“requesting initiation” of the grievance procedures.


        119
           We recognize that schools reasonably may respond differently to complaints filed by those
subjected to sexual harassment and complaints filed by third parties, but the appropriateness of a school’s
response should be fact-specific. See 2001 Guidance at 18 (identifying “factors” that “will affect the
school’s response” when “information about harassment is received from a third party (such as from a
witness to an incident or an anonymous letter or telephone call)”).
        120
              E.g., 2001 Guidance at 5–14.
        121
              2001 Guidance at 6 & n. 43 (collecting cases).
        122
              34 C.F.R. § 106.8(b) (emphasis added).


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        Furthermore, the proposed regulation ignores the reality in elementary and secondary
schools throughout the nation that complaints of sexual harassment are most often brought to the
attention of administrators verbally by children, many of whom will be unaware of the proposed
regulation’s prescriptions. As such, the proposed regulation will too often result in K-12 students
being deprived of their rights under Title IX based on the mere technicality of not filling out and
signing a written document. In this regard, we note that the Department has included no cost
estimate for training students (or their parents and guardians) on the new sweeping changes in
the regulations. They will nonetheless be responsible for meeting these procedural requirements
to obtain any relief.
         In addition, the proposed rule runs afoul of other federal civil rights laws because it fails
to specify that reasonable accommodations in the grievance process shall be provided for
individuals whose disabilities may inhibit their ability to read, write, and sign a complaint.123
Moreover, for a complainant who is under 18, as many in the schools affected by this regulation
are, the proposed regulations do not address how schools will implement this requirement if a
parent later disagrees with a child complainant’s decision to file or is not consulted prior to
filing. The change also creates unnecessary administrative costs, paperwork, and delay because
schools must create or receive a signed document before executing their clear responsibilities
under the law to investigate and, as necessary, stop the harassment, prevent its recurrence, and
remedy its effects.
        C.      “Supportive Measures” Should be Responsive to a Complainant’s Needs.
        Under prior guidance, the Department acknowledged that Title IX may require a school
to take “interim measures” to protect a complainant and other students before the conclusion of
an investigation.124 In § 106.44(e)(4), the proposed rule would introduce the new term
“supportive measures” and would provide that implementing supportive measures may itself be
an adequate response in some cases of sexual harassment.
        The proposed rule provides a safe harbor to a school that “offers and implements
supportive measures designed to effectively restore or preserve the complainant’s access to the
recipient’s education program or activity,” without regard to whether the supportive measures
are actually (or even reasonably) effective in accomplishing that objective. Further, for
supportive measures to be effective, a school must acknowledge the crucial role of the
complainant and, as needed, the respondent in crafting such measures and work with the parties
to design appropriate measures after assessing what is needed to stop the harassment, prevent its
recurrence, and address its effects. The Department should clarify that although schools should
not be required to provide every measure the student requests, they should give due

        123
            See generally Section 504 of the Rehabilitation Act of 1973, 29 U.S.C. § 794; Americans with
Disabilities Act of 1990 as amended, 42 U.S.C. § 12131, et. seq.
        124
            2001 Guidance at 16, 18 (“It may be appropriate for a school to take interim measures during
the investigation of a complaint.”)


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consideration to what the student who was harassed deems appropriate supportive measures in
light of the circumstances, so that access to programs and activities can be assured.
        The proposed rule would provide that supportive measures offered to a complainant or
respondent should be designed to avoid “unreasonably burdening the other party.” 83 Fed. Reg.
at 61,496. By comparison, Department policy issued between 2001 and 2014 consistently
emphasized that, in adopting interim measures, schools should minimize the burden on the
student who was harassed. For example, the 2001 Guidance stated that such measures should “be
designed to minimize, as much as possible, the burden on the student who was harassed.”125 The
2014 Guidance stated that schools should minimize the burden on the complainant. For example,
if the complainant and alleged perpetrator share the same class or residence hall, the school
should not, as a matter of course, remove the complainant from the class or housing while
allowing the alleged perpetrator to remain without carefully considering the facts of the case.”126
        We agree that schools should endeavor to avoid “unreasonably burdening” alleged
perpetrators, but we believe this principle requires elaboration. The Department should clarify
that, consistent with prior policy, there should be a presumption against imposing unnecessary
burdens on the complaining student when devising supportive measures. By crafting appropriate
and individualized measures, this can be done even while protecting the due process rights of the
respondent during the pendency of the investigation.
        And the Department should likewise make clear that schools retain their local flexibility
to deal immediately with potentially predatory or violent situations, even in ways that
significantly burden one or more students, and even before a formal complaint has been filed or
there has been an adjudication of responsibility, when necessary to meet their responsibilities for
student safety and well-being. In such situations, to ensure the safety and well-being of its
students, a school may need to impose a temporary and immediate suspension on a student,
subject to the right for that student to have a prompt hearing with a right to return to the
educational environment.
IV.    The Proposed Grievance Procedure Fails to Provide a Fair and Equitable Process
       for Resolving Formal Title IX Complaints.
        In 2001, the Department recognized that “[s]trong policies and effective grievance
procedures are essential to let students and employees know that sexual harassment will not be
tolerated and to ensure that they know how to report it.”127 This is why the Department has
consistently required school grievance procedures to provide for “prompt and equitable
resolution of sex discrimination complaints.”128 In many places, the proposed rule fails to meet

       125
             2001 Guidance at 16.
       126
             2014 Q&A at G-2, 33.
       127
             2001 Guidance at iii.
       128
             2001 Guidance at 14.


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this standard: it improperly tilts the proceedings in favor of the respondent, it prevents schools
from imposing reasonable controls that protect confidentiality and ensure fair proceedings, and it
burdens schools and students alike with untenable hearing requirements. In other places, the
proposed rule requires clarification to ensure a truly equitable process. As such, the proposed
grievance procedures must be substantially revised in order to comply with Title IX.
       A.      Credibility Determinations Should Not Be Based Solely on Person’s Status.
       To ensure that all evidence is evaluated objectively, the proposed rule states that
“credibility determinations may not be based on a person’s status as a complainant, respondent,
or witness.” Proposed § 106.45(b)(1)(ii). We agree that all evidence must be considered fairly
and objectively by recipient schools. But fact-finders should not be categorically prohibited from
considering any factor—including the person’s status and motivations for offering their
testimony—when determining credibility. As the EEOC has recognized in the employment
context, no single factor is determinative of credibility.129 Instead, the final rule should state that
“credibility determinations may not be based solely on a person’s status as a complainant,
respondent, or witness.”
       B.      The Presumption of Non-Responsibility Improperly Tilts the Process in
               Favor of the Respondent.
       The proposed rule states that there is a “presumption” that the respondent is “not
responsible” for the alleged sexual harassment. §§ 106.45(b)(1)(iv) & (b)(2)(i)(B). The
presumption appears aimed at protecting respondents in a manner akin to the presumption of
innocence in criminal cases. But the grievance procedures are non-criminal in nature, so a
criminal presumption by another name is not appropriate. Relatedly, but more fundamentally, the
presumption contradicts the regulation’s stated goal of promoting impartiality by inherently
favoring the respondent’s denial over the complainant’s allegation. Instead the allegation and the
denial must be treated neutrally, as competing assertions of fact whose truth can only be
determined after an investigation. The problem would be even starker if any final regulation
were to retain recipients’ ability to choose a “clear and convincing” evidence standard (which we
contend is not appropriate). The presumption of non-responsibility and the “clear and
convincing” standard of evidence likely would, in practice, compound one another and raise an
exceedingly high bar to any finding of responsibility for sexual harassment.
       Accordingly, there should be no presumption regarding the respondent’s responsibility.




       129
          EEOC, Enforcement Guidance on Vicarious Employer Liability for Unlawful Harassment by
Supervisors (June 18, 1999), https://www.eeoc.gov/policy/docs/harassment.html.



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        C.         The Department Should Provide Prompt Timeframes and Should Not
                   Encourage Good Cause Delay for Concurrent Law Enforcement
                   Proceedings.
        Since 1980, the regulations have required that schools provide a “prompt” resolution to
any allegation of discrimination prohibited by this part.130 Department policy interpreting the
regulations has also required grievance procedures for resolving allegations of sexual harassment
to be completed “promptly.”131 Proposed § 106.45(b)(1)(v) would require schools to establish
“reasonably prompt timeframes for conclusion of the grievance process.” According to the
preamble, the Department has selected the language “reasonably prompt” to track “the language
in the Clery Act regulations at 34 C.F.R. § 668.46(k)(3)(i)(A).” 83 Fed. Reg. at 61,473. We are
concerned that schools will likely construe “reasonably prompt” as imposing a more relaxed
timeliness obligation than “promptly.” Other than a desire to provide consistency with the Clery
Act, the Department does not provide an adequate justification for a change that may result in
further delays in completion of the resolution process for both parties to a sexual harassment
investigation, each of whom have a significant interest in a prompt resolution. The Department
should strike “reasonably,” so that change in wording does not constitute a departure from its
long-established guidance without adequate justification.
         In addition, we urge the Department to reaffirm, in issuing any final rule, the goal of
completing investigations of formal complaints in a 60-day timeframe,132 subject to the
institutions’ need for flexibility for practical concerns and to protect due process rights. Timely
resolution of grievance procedures is vital for complainants who may be re-victimized as the
process drags on without resolution or relief. As the Department has recognized, “OCR
experience” had shown that “a typical investigation takes approximately 60 calendar days
following receipt of the complaint,” although “the complexity of the investigation and the
severity and extent of the harassment” can necessitate a longer process.133 In the proposed rule,
the Department notes that “[s]ome recipients felt pressure in light of prior Department guidance
to resolve the grievance process within 60 days.” But nowhere does the Department claim that
OCR’s experience has changed. Rather than abandon this timeline, the Department should
provide schools with guidelines for timeliness that continue to recognize that grievance
procedures can vary in length based on the complexity of the investigation, the severity of the
harassment, and factors outside of the schools’ control, such as the unavailability of witnesses.134


        130
              See current 34 C.F.R. § 106.8(b), proposed § 106(c).
        131
              E.g., 2001 Guidance at 19; 2011 DCL at 8.
        132
           Of course, other stages such as appeals will have a separate prompt timeframe, as OCR has
consistently recognized.
        133
              2011 DCL at 12; see also 2014 Q&A at 31.
        134
           E.g., state administrative procedures that require multiple stages but are still completed within
a prompt timeframe.


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Such a definition will also provide clear notice to schools of the Department’s expectations for a
prompt resolution.
        Finally, the Department provides in proposed § 106.45(b)(1)(v) that schools many
temporarily delay the process for good cause, which can include “concurrent law enforcement
activity.” For several reasons, any final rule should be clear that concurrent law enforcement
activity, without more, is not good cause to delay Title IX proceedings. First, “because legal
standards for criminal investigations are different, police investigations or reports may not be
determinative of whether harassment occurred under Title IX and do not relieve the school of its
duty to respond promptly and effectively.”135 Conduct may restrict a student’s access to
education even though it does not rise to the level of a criminal violation. Second, as we discuss
more fully elsewhere, schools generally have an independent obligation under Title IX to
investigate and resolve complaints of sexual harassment—regardless of any parallel criminal
investigation.
        Generally, school and law enforcement officials should de-conflict their investigations to
avoid prejudicing each other’s investigation. Although concurrent law enforcement activity
should not be considered sufficient grounds for delaying Title IX proceedings, some limited
circumstances would support good cause for a temporary delay. For example, a school may find
good cause to delay a portion of a Title IX investigation at the request of a prosecutor to protect
the integrity of a criminal investigation, or “a school may need to delay temporarily the fact-
finding portion of a Title IX investigation while the police are gathering evidence.”136 But “once
notified that the police department has completed its gathering of evidence (not the ultimate
outcome of the investigation or the filing of any charges), the school must promptly resume and
complete its fact-finding for the Title IX investigation.”137 And schools should not refrain from
providing supportive measures in the interim.
         Therefore, if the Department finalizes its proposal, § 106.45(b)(1)(v) should be revised to
reflect that “concurrent law enforcement activity” may be grounds for delaying Title IX
proceedings only when there is good cause beyond the mere existence of concurrent law
enforcement activity. That said, any final rule should also clarify that schools must tell
complainants of their right to file a concurrent criminal complaint and not dissuade them from
doing so.


        135
           2001 Guidance at 21 & n.110 (citing Academy School Dist. No 20, OCR Case No. 08-93-1023
(school’s response determined to be insufficient in a case in which it stopped its investigation after
complaint filed with police); Mills Public School Dist., OCR Case No. 01-93-1123 (not sufficient for
school to wait until end of police investigation)).
        136
              2011 DCL at 10 & n.25.
        137
           Id. (noting that in “one recent OCR sexual violence case, the prosecutor’s office informed
OCR that the police department’s evidence gathering stage typically takes three to ten calendar days,
although the delay in the school’s investigation may be longer in certain instances”).


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        D.        When Issuing a Notice Upon Receipt of a Formal Complaint, Schools Should
                  be Required to Protect Confidentiality and Preserve the Integrity of the
                  Investigation.
        In § 106.45(b)(2)(i)(B), the proposed rule defines the notice a school must provide upon
receipt of a formal complaint. We agree that due process requires that a respondent have access
to information about the complained-of conduct in order to have a meaningful opportunity to
prepare an effective response. But by requiring schools in all circumstances to send written
notices that identify the complainant and detail the allegations, the proposed rule fails to address
the potential confidentiality concerns of both the complainant and the respondent. For example, a
written notice sent to the parties that names the complainant and details the allegations could be
leaked or forwarded to unrelated third parties. This could damage the respondent’s reputation,138
invite retaliation against the complainant, threaten both parties’ access to education, and,
depending on the information disclosed regarding the complainant’s medical information related
to sexual violence, violate state and federal health care privacy laws.139
        We are also concerned by the proposal’s mandate that the required notice be provided
“[u]pon receipt of a formal complaint,” proposed § 106.45(b)(2)(i)(B), and then supplemented on
an “ongoing” basis, “[i]f, in the course of an investigation, the recipient decides to investigate
allegations not included in the notice provided pursuant to paragraph (b)(2)(i)(B).”
§ 106.45(b)(2)(ii). As long as the respondent receives the necessary information early enough to
have a meaningful opportunity to prepare a response, schools should retain some discretion as to
when they provide a respondent information about allegations being investigated. For example, a
school may wish to conduct a preliminary investigation to determine whether the new allegations
are credible or whether alleged systemic conduct is occurring. Schools may also need to delay
notice to avoid prejudicing the investigation.
        To avoid these problems, any final rule should instead advise schools to provide the
respondent with prompt written notice of the filing of a formal Title IX complaint, including the
specific allegations against her or him, the applicable grievance procedures and conduct code
sections, a prompt timeframe for providing access to relevant information about the allegations,
and an opportunity to respond. This would allow schools to continue to protect both parties by,
for example, sending respondents only an initial written notice about the existence of a complaint
and specific allegations, and then providing him or her with relevant information in person,
including additional details about the alleged conduct and the identity of the complainant. Any
final rule should also allow schools to protect respondents and complaints in other ways, such as
by barring them from disclosing personally identifiable information except as necessary to
prepare a response.

        138
            E.g., 2001 Guidance at 18 (“Publicized accusations of sexual harassment, if ultimately found
to be false, may nevertheless irreparably damage the reputation of the accused.”).
        139
              E.g., 2001 Guidance at 17–18.


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         Any final rule should also allow schools to withhold the identity of the complainant in
certain circumstances. We agree that in many circumstances, the respondent must be informed of
the complainant’s identity to prepare an adequate response. But there are circumstances in which
a school may not need to identify a complainant who has requested confidentiality, such as when
the complaint involves harassment in a public setting (e.g., a teacher saying something to a
whole class or systemic problems at a fraternity). In addition, when a school moves forward with
a complaint on behalf of a student who has requested confidentiality, the school can still provide
prospective relief, such as sexual harassment training and guidance that can meets it obligations
to prevent harassment and address its effects. Students who have declined to pursue a formal
investigation should not be identified against their will if appropriate corrective measures can
still be pursued.
        Finally, any final rule should require any notice to include a warning that retaliation
against the complainant, including by making statements or spreading rumors intended to
intimidate or dissuade him/her from filing or pursuing a Title IX complaint, constitutes an
independent Title IX violation.
       E.      Schools Should be Allowed to Place Limited, Reasonable Restrictions on
               Discussions by the Parties.
         In § 106.45(b)(3)(iii), the proposed rule bars schools from restricting the parties from
discussing the allegations under investigation. We agree that parties cannot be barred from
disclosing information needed to prepare a response or prepare for an interview or hearing. But
there are several circumstances in which a school may need to place reasonable limitations on
the ability of both parties to discuss the allegations. For example, a school may be able to respect
a complainant’s request for confidentiality by requiring the respondent to not disclose the
complainant’s identity unless necessary to prepare his or her response. In addition, schools
should be allowed to limit (in the short term) discussions to preserve the integrity of the
investigation, such as limiting conversations between parties and witnesses to prevent witness
tampering. Finally, effective interim supportive measures should continue to include a school’s
ability to restrict the respondent from contacting the complainant or otherwise harassing or
retaliating against him or her during the pendency of the investigation. Therefore, any final rule
should state that the school must not restrict the ability of either party to discuss the allegations
under investigation as necessary to prepare a response or prepare for an interview or hearing.
       F.      The Proposed Hearing Procedures Will Chill Reporting, Burden Schools,
               and Harm Both Complainants and Respondents.
        Proposed § 106.45(b)(3)(vi) allows K-12 institutions to conduct live hearings at their
discretion. Live hearings place a sharp spotlight on both parties. K-12 students—particularly
those in elementary and middle school—will typically lack the maturity necessary to participate.
They also have greater vulnerability to potential traumatization or re-traumatization. In addition,
allowing live hearings raises serious privacy concerns for children, particularly with respect to



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student witnesses. The final rule should not allow live hearings in the K-12 context unless
otherwise required by state law.
        If live hearings do take place in K-12 schools, the final rule should include minimum
protections for student parties and witnesses who testify, and require schools to protect the
confidentiality of the participants and the process. Given the privacy considerations for underage
minors and potential for re-traumatization, the complaining and responding student should never
be required to testify in the same room or to face each other in any cross-examination. The
regulation should also provide exceptions for student testimony and participation where the
student’s maturity level would make in-person participation inappropriate.
        In § 106.45(b)(3)(vii), the proposed rule requires all institutions of higher education to
conduct live hearings at which each party’s advisor must be allowed to conduct cross-
examination of the other party. As we discuss below, any final rule should not mandate live
hearings, return advisors to a supporting role only, and only allow party questioning via neutral
third parties.
         First, although some states require them, live hearings can pose problems. Schools may
have a legitimate interest in avoiding circumstances that may subject the complainant to further
harassment. Particularly in cases of sexual violence, requiring the complainant to face the
respondent risks re-traumatizing a survivor. In addition, live hearings can be burdensome on
institutions. They are typically overseen by faculty members or school staff who, no matter how
dedicated they are to a fair process, are not professional mediators or judges. Months or even
years can pass between hearings, which can undermine the efficacy of training, while the
presence of attorneys for either party risks intimidating the panel and overtaking the proceedings.
And finding a time when the panel members, the parties, and all witnesses are available can
delay proceedings. To avoid these problems, some schools instead have the fact-finder or
investigator conduct hearings with, or take sequential evidence from, all parties and witnesses,
with the parties able to submit questions in advance. This allows for the solicitation of live
testimony and enables the fact-finder to personally evaluate the speaker’s credibility.140
       Therefore, the final rule should permit investigations via methods other than live
hearings, subject to constitutional due process protections.
         Second, requiring cross-examination by a party’s advisor during a live hearing will create
serious problems to both the school and the parties. The opportunity for the parties to pose
questions is an important element of fact-finding. Indeed, the ability to pose questions of
witnesses and the other party protects both respondents and complainants. But the Department’s
shift to cross-examination by advisors has created even greater problems—problems that will

        140
           E.g., Doe v. Univ. of S. California, 241 Cal. Rptr. 3d 146, 163 (Cal. Ct. App. 2018) (holding
that “[w]here a university’s determination turns on witness credibility, the adjudicator must have an
opportunity to assess personally the credibility of critical witnesses,” but not finding due process violation
in the university’s decision to not hold a live hearing).


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inhibit the Department’s stated goals of discovering the truth and reducing the burden on
schools. 83 Fed. Reg. at 61,476.
         Advisor-led cross-examination will be untenable. Some parties may choose to bring in
attorney advisors. This risks disparate treatment if, for example, the complainant has an attorney
advisor and the respondent has an institution-provided faculty member advisor. In cases in which
the school is required to provide the advisor, schools are concerned that they could later be
challenged for failing to provide an adequate advisor. Attorney-advisor cross-examination also
risks intimidating the non-lawyer faculty or staff member(s) who typically oversee Title IX
hearings. To ensure that the fact-finder can run a fair and effective hearing, schools may feel the
need to hire attorneys to serve as dedicated Title IX fact-finders, which would impose an even
greater expense and burden on institutions. In addition, cross-examination by an advisor of the
party’s choice—which could be an attorney, a family member, or a fellow student—risks
harassing the respondent, retraumatizing the complainant, and further deterring survivors from
filing formal complaints.141
        To avoid these problems, any final rule should permit the practice already widely used in
schools that hold live hearings. Each party should be allowed to bring to a hearing or interview
an advisor of his or her choice who serves only a supportive function. The complainant and
respondent should be allowed to pose questions through a neutral third party, such as the fact-
finder overseeing the hearing. This would balance the need for each party to ask questions of the
other party, the need for the fact-finder to evaluate how the parties respond to live questions, and
the need to protect all parties from trauma, intimidation, and further harassment. The Department
must also ensure that adjudicators are sufficiently empowered to control the proceedings and
place some reasonable limitations on the questioning of the parties and witnesses. By making
relevance the only ground for excluding questions, 83 Fed. Reg. at 61,476, the Department’s
proposal would result in protracted and unwieldy hearings that would impose additional costs on
schools and parties (costs not reflected in the Department’s regulatory impact analysis). Such
hearings may not ultimately protect respondents and complainants from abusive or harassing
questioning or, most importantly, facilitate the discovery of truth.




       141
           See, e.g., Tom Lininger, Bearing the Cross, 74 Fordham L. Rev. 1353, 1357 (2005) (“As a
general matter, victims willingness to report crimes varies inversely with their fear of embarrassment
during cross-examination.”); Anoosha Rouhanian, A Call for Change: The Detrimental Impacts of
Crawford v. Washington on Domestic Violence and Rape Prosecutions, 37 B.C.J.L. & Soc. Just. 1, 35
(2017); William J. Migler, An Accused Student’s Right to Cross-Examination in University Sexual Assault
Adjudicatory Proceedings, 20 Chap. L. Rev. 357, 370 (2017); H. Hunter Bruton, Cross-Examination,
College Sexual-Assault Adjudications, and the Opportunity for Tuning Up the “Greatest Legal Engine
Ever Invented”, 27 Cornell J.L. & Pub. Pol’y 145, 176 (2017).



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       G.         Schools Should Not be Required to Provide Parties With Access to All
                  Collected Evidence.
        In § 106.45(b)(3)(viii), the proposed rule details how institutions must prepare
investigative reports and provide the parties with access to evidence. These provisions raise
several serious concerns.142
       First, no platform exists that is wholly immune from “downloading or copying the
evidence.” Among many other vulnerabilities, the relevant evidence could easily be
photographed using a smartphone camera. The final rule should not require schools to provide
such sensitive information in a way that exposes both the respondent and the complainant.
         Second, providing all parties access to “any evidence obtained as part of the investigation
that is directly related to the allegations raised in a formal complaint, including the evidence
upon which the recipient does not intend to rely in reaching a determination regarding
responsibility” is overbroad. Schools should not be required to provide the parties with access to
evidence that is privileged and confidential, such as “communications between the complainant
and a counselor or information regarding the complainant’s sexual history.”143 Schools also
cannot provide parties with access to evidence that it itself cannot use, such as an illegal voice
recording in a state such as Pennsylvania that requires two-party consent.144 Nor should a school
provide either party with evidence that was collected as part of the investigation but which is
irrelevant.
        Nor can schools be required to provide access to information where doing so is barred by
the Family Educational Rights and Privacy Act (FERPA). The Department mischaracterizes the
law when it asserted in the preamble that this provision “is consistent” FERPA, “under which a
student has a right to inspect and review records that directly relate to that student.” 83 Fed. Reg.
at 61,475. FERPA does not allow one student to review information about other students. 34
C.F.R. § 99.12(a). And not every piece of evidence obtained as part of an investigation is
necessarily “directly related to” each student who is a party to an investigation for the purposes
of FERPA.145 For example, a complainant’s full medical history, even if obtained as part of an
investigation to ascertain the extent of alleged physical injuries, is both irrelevant to the specific


       142
            See, e.g., Richard Reed, Feds concerned about loophole that may have enabled UO to get
alleged rape victim’s records, The Oregonian (June 13, 2015), https://www.oregonlive.com/education/
index.ssf/2015/06/feds_voice_concern_about_looph.html (discussing disclosure of student’s confidential
counseling records regarding an alleged rape on campus and the impact on the survivor and other legal
liability).
       143
             2011 DCL at 11 n.29.
       144
           Digital Media Law Project, Recording Phone Calls and Conversations, http://www.dmlp.org/
legal-guide/recording-phone-calls-and-conversations (last checked Jan. 18, 2019).
       145
             20 U.S.C. § 1232g(a)(4)(A)(i).



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allegation at issue and not at all “directly related” to the respondent. Likewise, “if a school
introduces an alleged perpetrator’s prior disciplinary records to support a tougher disciplinary
penalty, the complainant would not be allowed access to those records.”146
       Therefore, any final rule should permit schools to place reasonable limitations on a
respondent’s access to information.
       H.        The Standard of Proof Should Remain Preponderance of the Evidence.
       Proposed regulation § 106.45(b)(4)(i) requires the recipient to:
       [A]pply either the preponderance of the evidence standard or the clear and
       convincing evidence standard, although the recipient may employ the
       preponderance of the evidence standard only if the recipient uses that standard for
       conduct code violations that do not involve sexual harassment but carry the same
       maximum disciplinary sanction. The recipient must also apply the same standard
       of evidence for complaints against students as it does for complaints against
       employees, including faculty.
        Although the proposed regulation expressly provides an “option” regarding the standard
that may be used, requiring that the preponderance of the evidence standard only be used if it is
also used in other specific contexts could effectively eliminate the preponderance of the evidence
standard in Title IX proceedings. This proposal is presented under a veneer of treating
complaints equitably, but would, in fact, often create an inequitable situation at odds with Title
IX’s text and intent, exceed the Department’s authority under Title IX, and be strikingly unfair to
those subjected to sexual harassment and sexual violence.
        First, the idea that a heightened standard of proof should apply to claims of sexual
harassment and violence in school disciplinary processes misapprehends these proceedings’
fundamental purpose. While of great consequence to all parties involved, these are not criminal
proceedings. In criminal proceedings, a heightened standard of proof is constitutionally
mandated and appropriate given the retributive nature of criminal sanctions, as well as the
potential of loss of life or liberty. In contrast, student disciplinary proceedings must be viewed in
light of the institutions’ educational missions. As stated in a publication by the Association for
Student Conduct Administration, “[t]he goal is to protect the academic environment.”147 That
goal is undermined by a standard that “says to the victim/survivor, ‘Your word is not worth as




       146
             2011 DCL at 11.
       147
          Chris Loschiavo & Jennifer Waller, PhD, Preponderance of the Evidence Standard: Use in
Higher Education Campus Conduct Processes, 1, 3, Association for Student Conduct Administration,
https://www.theasca.org/files/The%20Preponderance%20of%20Evidence%20Standard.pdf.



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much to the institution as the word of accused’ or, even worse, that the institution prefers that the
accused student remain a member of the campus community over the complainant.”148
        Second, the “preponderance of the evidence” standard in this context is widespread and
has been in use for decades. In fact, the Department has required schools to employ this standard
since at least 1995, under both Democratic and Republican administrations.149 Further,
contemporaneous surveys showed that the majority of colleges and universities employed this
standard even before the Department’s 2011 guidance.150 Tellingly, multiple rounds of
comments on Title IX guidance in the past 20 years yielded no complaints about, or even
mention of, the preponderance of evidence standard.151
        While the proposed rule pushes back on the analogy to civil litigation as one of its
rationales for employing the clear and convincing standard, 83 Fed. Reg. at 61,477, the
Department cannot dispute that the preponderance of the evidence standard is typical in civil
lawsuits, including ones in which civil rights violations—such as Title IX and Title VII—are
alleged.152 The 2001 Guidance noted that “[w]hile Gebser and Davis made clear that Title VII
agency principles do not apply in determining liability for money damages under Title IX, the
Davis Court also indicated, through its specific references to Title VII caselaw, that Title VII
remains relevant in determining what constitutes hostile environment sexual harassment under
Title IX.”153 The Department’s proposed rule turns Title IX on its head, making it harder for a
victim of sex discrimination to obtain relief than a respondent. In this regard, a respondent will
now be able to sue a school for a “due process” violation of Title IX and only have to prove the

        148
              Id. at 4.
        149
          Katherine K. Baker, et al., Title IX & the Preponderance of the Evidence: A White Paper,
Feminist Law Professors 1, 10 (Aug. 7, 2016), http://www.feministlawprofessors.com/wp-content/
uploads/2017/07/Title-IX-Preponderance-White-Paper-signed-7.18.17-2.pdf (citing Letter from Gary D.
Jackson, Reg’l Civil Rights Dir., Off. for Civil Rights, U.S. Dep’t of Educ., to Jane Jervis, President, The
Evergreen St. Coll. (Apr. 4, 1995) (Clinton Administration); Letter from Howard Kallem, Chief Att’y,
D.C. Enforcement Off., Off. for Civil Rights, U.S. Dep’t of Educ., to Jane Genster, Vice President and
General Counsel, Georgetown Univ. (Oct. 16, 2003) (George W. Bush Administration)).
        150
           Id. at 7 (citing two studies showing that shortly before 2011 DCL, (1) 80 percent of schools
with a standard of evidence used the preponderance standard and (2) 61 percent of college and university
administrators surveyed used the preponderance standard).
        151
              Id. at 9–10.
        152
           See, e.g., Desert Palace, Inc. v. Costa, 539 U.S. 90, 99 (2003) (noting that under the
“conventional rule of civil litigation,” the preponderance of the evidence standard generally applies in
cases under Title VII); Price Waterhouse v. Hopkins, 490 U.S. 228, 252–55 (1989) (approving
preponderance standard in Title VII sex discrimination case) (plurality opinion); id. at 260 (White, J.,
concurring in the judgment); id. at 261 (O’Connor, J., concurring in the judgment).
        153
          2001 Guidance at vi; see also Jennings v. Univ. of N.C., 482 F.3d 686, 695 (4th Cir. 2007)
(“We look to case law interpreting Title VII of the Civil Rights Act of 1964 for guidance in evaluating a
claim brought under Title IX.”).



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case by a preponderance of the evidence, whereas the complainant would have to prove sexual
harassment in the first instance by the higher clear and convincing standard.
        Further, as acknowledged in the NPRM, the Department’s own OCR uses a
preponderance of the evidence standard. 83 Fed. Reg. at 61,477. OCR’s Case Processing Manual
requires that a noncompliance determination be supported by the preponderance of the evidence
when resolving allegations of discrimination under all the statutes enforced by OCR, including
Title IX.154
        The “preponderance of the evidence” standard is the only standard of proof that can
provide for an “equitable resolution” of student harassment complaints,155 as required under Title
IX.156 Absent a statutory instruction to the contrary, the Department has no authority to depart
from the usual allocation of risk between parties to grievance proceedings. In discussing
appellate rights, the Department recognizes that each party in grievance proceedings is equally
deserving of an accurate outcome. 83 Fed. Reg. at 61,478–79. This recognition makes the
Department’s proposal to use a standard other than preponderance of the evidence—which
privileges one party’s interests over others’ and the search for truth—all the more inexplicable.
        To be sure, this proposed regulation applies by its terms to complaints against employees
as well, and some colleges and universities have policies for faculty under which a higher
standard of proof is used. But schools have a qualitatively different relationship with their
employees than their students. In the modern university context, courts “have increasingly
recognized a college’s duty to provide a safe learning environment both on and off campus.”157
This most obviously manifests itself in the student housing context, where students are almost
entirely dependent on the university for security, and have little to no power to enhance their
security themselves.158 The proposed regulation’s requirement that schools can only use a
preponderance of the evidence standard for student complaints if they use that same standard for

        154
             U.S. Dep’t of Educ., Case Processing Manual, Art. III, § 303, https://www2. ed.gov/about
/offices/list/ocr/docs/ocrcpm.pdf. Notably, this Manual was updated under this Administration (in
November 2018) and retained the preponderance of the evidence standard.
        155
           Herman & Maclean v. Huddleston, 459 U.S. 375, 390 (1983) (“A preponderance-of-the-
evidence standard allows both parties to ‘share the risk of error in roughly equal fashion.’ Any other
standard expresses a preference for one side’s interests.”) (internal quotation marks omitted). See also
Steadman v. SEC, 450 U.S. 91, 96 (1981) (same).
        156
              See 34 C.F.R. §106.8(c) (construing Title IX to require equitable resolution of grievances).
        157
            Kristen Peters, Protecting the Millennial College Student, 16 S. Cal. Rev. L. & Soc. Just. 431,
448 (2007); see also Duarte v. State, 88 Cal. App. 3d 473 (Cal. 1979) (noting that students “in many
substantial respects surrender[]the control of [their] person[s], control of [their] own security to the
university”); Mullins v. Pine Manor Coll., 449 N.E.2d 331, 335–36 (Mass. 1983) (holding that “[p]arents,
students, and the general community . . . have a reasonable expectation, fostered in part by colleges
themselves, that reasonable care will be exercised to protect resident students from foreseeable harm.”).
        158
              See Mullins, 449 N.E.2d at 335.



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complaints against employees ignores the fundamental fact that schools are obliged to protect
their students in different ways than their employees, which is especially true for students who
are minors.159
        The proposed rule prohibits schools from having a different standard of proof for
allegations of sexual harassment than it does for other infractions that carry the same potential
sanctions. The reasons provided for this change further highlight the inherent one-sidedness
underlying the proposal to alter the standard of proof. Here, the Department only discusses the
“heightened stigma often associated with a complaint regarding sexual harassment,” 83 Fed.
Reg. 61,477, but fails to recognize the trauma associated with being subjected to sexual
harassment or violence, and how this could be exacerbated by applying an evidentiary standard
of proof favoring the accused over the individual subjected to sexual harassment or violence.
        The proposed rule will have the effect of deterring complainants from filing
administrative school complaints and instead encourage additional costly civil litigation, an
additional cost impact for which the Department fails to account. Assuming that the
Department’s proposed regulations are adopted, a complainant filing a civil lawsuit under Title
IX would now be required to meet the same extremely high burdens—e.g., standards for
deliberate indifference, actual knowledge, and sexual harassment—in school as in court. But the
court case would be adjudicated under the preponderance of the evidence standard, a lower
burden of proof than would be available in many school grievance proceedings under the
proposed rule. In addition, the complainant would be able to obtain damages in court, something
that the Department’s proposed rule explicitly prohibits in the administrative context.
       The problem is that civil adjudication is only an alternative for students with means to
pursue it. Students without the financial means would be uniformly disadvantaged in pursuing
sexual harassment complaints. Additionally, where school proceedings are perceived unfair or
unduly burdensome, some students may choose to pursue criminal actions, which can be re-
traumatizing for a person subjected to sexual harassment and more stigmatizing for the accused.
        Finally, the proposed rule may also prove unworkable for many institutions that will be
unable to meet two masters. To meet the second requirement of consistency between faculty and
student complaints, colleges and universities will most frequently be required to adopt the higher
standard of proof, clear and convincing, since tenured faculty often are entitled by law and
contract to an application of the higher standard. But to meet the first requirement of consistency
between conduct code violations with similar maximum penalties, many colleges and
universities that handle all conduct code violations using a preponderance of the evidence
standard would be required to adopt the higher standard of proof. The Department’s rule will
thus likely require colleges and university to enact far reaching changes to conduct violation
policies and practices that extend well beyond the scope of the Department’s authority to
regulate under Title IX, inappropriately reaching conduct that has nothing to do with

       159
             See supra note 99.


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discrimination on the basis of sex—for example, cheating and simple battery. Further, the
Department provides no explanation for why these proceedings—faculty disciplinary standards
and code of conduct complaints—are more appropriate analogues to Title IX’s disciplinary
proceedings than Title VII or sexual harassment civil proceedings in court.
       I.        The Written Determination Must Include Steps to Eliminate Any Hostile
                 Environment.
       Proposed § 106.45(b)(4)(ii) provides a summary of what the final written determination
must include. Any final rule should confirm that the written determination must also include
assurances that the school will take steps to prevent recurrence of harassment, correct its
discriminatory effects, and prevent any retaliation against the complainant.160 As we have
discussed, the effects of harassment can go beyond the complainant and the respondent. The
Department has long recognized that Title IX requires schools to “eliminate any hostile
environment that has been created,” which may require implementing corrective measures
throughout the education community.161
       J.        The Department Should Clarify that both Complainants and Respondents
                 Have Equal Access to the Appeal Process.
        As currently written, § 106.45(b)(5) states that “[i]n cases where there has been a finding
of responsibility, although a complainant may appeal on the ground that the remedies are not
designed to restore or preserve the complainant’s access to the recipient’s education program or
activity, a complainant is not entitled to a particular sanction against the respondent.” This could
be read to suggest that a complainant can only appeal the remedies provided and not the
substantive findings. To avoid a rule that could be read to favor one party over another, any final
rule should clarify that both complainant and respondent should be given equal grounds for
appeal. In addition, the final rule should clarify that even if a complainant is not entitled to a
particular sanction, complainant can still appeal and seek a different sanction than the one
imposed.
       K.        Any Informal Resolution Must Empower Complainants and Seek
                 Restorative Justice.
        In § 106.45(b)(6), the Department proposes to allow informal resolution of any sexual
harassment complaint. The use of informal resolution has been shown to have powerful remedial
benefits in the criminal justice system.162 But any use of informal resolution under Title IX must
be voluntary and only initiated after the parties have full notice of their options, including the
right to proceed with a formal resolution process. In addition, informal resolution should allow

       160
             2001 Guidance at 17.
       161
             2001 Guidance at 16.
       162
          E.g., Common Justice, Common Justice Model, https://www.commonjustice.org/common
_justice_model (last checked Jan. 29, 2019).


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for an option to access voluntary restorative justice. And schools should have the option not to
offer informal resolution in cases of sexual violence or assault, which may raise more difficult
issues that some schools may not have the resources to adequately address.
        To that end, any final rule that allows schools to offer an informal resolution process
must require them to provide complainants and respondents with written notice of the options for
informal resolution at the outset, but not pressure students to pursue an informal resolution.
Confirmation that the parties received written notice of the availability of informal resolution
should be maintained by the school. Any final rule should also state that any informal resolution
process must involve a trained staff member. With voluntary written consent of both parties, a
face-to-face meeting may be part of an informal process, but at no point should a complainant be
required to resolve the problem alone with the respondent.163 Both parties must receive written
notice of the outcome of the informal resolution process, including any remedies and sanctions.
Finally, both parties must be informed of the right to discontinue the informal process at any
time and file a formal complaint.164
        L.        The Recordkeeping Retention Period Should Be Extended.
        Sections 106.45(b)(7)(i)–(ii) of the proposed rule set forth a requirement that all
recipients “create, make available to the complainant and respondent, and maintain for a period
of three years records of” any sexual harassment investigation, the results of that investigation,
any appeal from that investigation, and all training materials relating to sexual harassment. The
explicit requirement to retain such records is a positive step that will help improve consistency in
investigations and allow the Department to assess compliance with Title IX.
       But the Clery Act requirement to report all crimes that occurred within the last three
years has little to do, as a matter of policy or law, with how long recipients should retain records
of sexual harassment and sexual assault after they have been reported. It does not follow that the
period of retention for such records should be tied to the Clery Act’s limitation period for
reporting specific campus crimes.165
       In fact, when interpreting the Clery Act’s requirement to “Retain Records,” the
Department has explicitly held that all three years of records relied upon for annual reporting
must be kept for another three years after the publication of that year-end report—or “in effect,


        163
              2001 Guidance at 21.
        164
           Id. In some cases, informal resolution may also require the existence of a safety guardrail to
ensure that the school has made a sufficient inquiry to determine the scope of likely harm to the
complainant and others in the school community and the extent of the injuries to fashion appropriate
redress.
        165
          See The Jeanne Clery Disclosure of Campus Security Policy and Campus Crime Statistics Act
(“Clery Act”), 20 U.S.C. § 1092(f); 34 C.F.R. 668.46(c)(1) (requiring schools to annually report all
crimes which occurred in the prior three calendar years by the end of the following year).



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seven years.”166 The proposed regulation asserts that it “tracks the language in the Clery Act,”
thereby implying that this proposed change is consistent with current law. 83 Fed. Reg. at
61,471, 61,473, 61,475, 61,476, 61,478. However, as demonstrated above, the proposed three-
year retention requirement is inconsistent with the Clery Act’s seven-year retention
requirements. The retention period in the proposed regulations therefore should be, at minimum,
seven years.
        In addition, as a practical matter, a three-year recordkeeping requirement could
undermine criminal prosecutions related to the incidents at issue. For example, several states
have no statute of limitations for rape or certain other serious sexual offenses.167 In other states,
the statutes of limitations for sexual offenses far exceed the three-year recordkeeping
requirement.168 And sexual offenses against minors are often subject to significantly lengthened
statutes of limitations.169
        The proposed regulations therefore would permit recipients to discard vital records that
could help the criminal prosecution of sexual assault and rape well before the statute of
limitations for such crimes has run, thereby potentially letting the perpetrators of these serious
crimes go free. Given that so many related crimes have statutes of limitations substantially
longer than the three-year requirement in the proposed regulations, the retention policy is
inadequate, and should be extended in any final rule.
V.      The Department Should Not Adopt a Title IX Rule that Adversely Affects Schools’
        Ability to Go Beyond Title IX’s Requirements in Addressing Sexual Harassment
        and Violence, Including Their Ability to Comply with Other Applicable Laws.
        A.         Title IX Cannot, And Does Not, Restrict The Ability of States and Schools To
                   Provide Broader Protections Against Sex Discrimination.
       The proposed rule’s new general standard and definitions of terms, as discussed above,170
would narrow schools’ obligations to respond to sexual harassment and assaults and decrease the


        166
            U.S. Dep’t of Educ., The Handbook for Campus Safety and Security Reporting 9–11 (2016
Ed.); see also id. at 6–11 (“As with all other Clery Act-related documentation, your institution is required
to keep emergency test documentation for seven years.”).
        167
              See, e.g., Cal. Penal Code §§ 261, 799; N.J.S.A. 2C:1-6a(1).
        168
          Any “major sexual offense” committed in the state of Pennsylvania can be prosecuted within
twelve years of its occurrence. 42 Pa.C.S.A. § 5552(b)(1).
        169
           In California, for example, assaults against minors can be prosecuted at any point up until the
victim’s 40th birthday. Cal. Penal Code § 801.1(a)(2). In Pennsylvania, assaults against minors can be
prosecuted until the victim’s 50th birthday. 42 Pa.C.S.A. § 5552(c)(3). In New Jersey, “criminal sexual
contact” involving minor victims may be prosecuted up to five years after the victim turns 18. N.J.S.A.
2C:1-6b(4).
        170
              See supra Section II.



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protections afforded to those subjected to sexual harassment and assault. In addition, this newly-
narrowed definition of sexual harassment could potentially have negative consequences in other
contexts. Section 106.45(b)(3) of the proposed regulation holds that whenever “the conduct
alleged by the complainant would not constitute sexual harassment as defined in section
106.44(e) . . . , the recipient must dismiss the formal complaint with regard to that conduct.”
(emphasis added). One reading of this requirement would dictate that no recipient could attempt
to address sexual harassment or assault if the basis of those claims did not fit within the newly-
narrowed federal definition provided in the proposed regulations, even where the recipient’s own
policy or state law would nevertheless prohibit the actions alleged by the complainant. We
believe that the proposed rule at § 106.45(b)(3), if finalized, must be revised to state, consistent
with other parts of the proposed regulation,171 that Title IX cannot, and does not, restrict the
ability of states and schools to provide broader protections against sex discrimination. Further,
we believe that the Department should ensure that schools can continue to enforce additional
civil rights protections.
         Even if the proposed rule allows broader protections against sex discrimination,
mandating that schools dismiss Title IX complaints that fall outside of the regulations’ scope will
still burden schools by requiring them to create two separate procedures: one for Title IX sexual
harassment and one for conduct that may constitute sexual harassment under other applicable
law or policies but not under the Department’s interpretation of Title IX. 83 Fed. Reg. at 61,475
(noting that “a recipient remains free to respond to conduct that does not meet the Title IX
definition of sexual harassment”). Yet the Department has long held that Title IX does not
require a school “to provide separate grievance procedures for sexual harassment complaints.”172
Indeed, many schools prohibit sexual harassment in the school’s code of student conduct.173

        171
            Other sections of the proposed regulation accurately reflect that Title IX does not preempt the
field of sex discrimination. See, e.g., 83 Fed. Reg. at 61,475 (“a recipient remains free to respond to
conduct that does not meet the Title IX definition of sexual harassment”); (responses could include
“responding with supportive measures for the affected student or investigating the allegations through the
recipient’s student conduct code” and that “such decisions are left to the recipient’s discretion in
situations that do not involve conduct falling under Title IX’s purview”).
        172
              2001 Guidance at 19.
        173
            E.g., Uni. of Pittsburgh, Title IX—Policies and Procedures, https://www.titleix.pitt.edu
/policies-procedures (Jan. 17, 2019); San Francisco Unified School District (SFUSD), Administrative
Regulation 5145.3 (Aug. 8, 2016), http://www.sfusd.edu/en/assets/sfusd-staff/Equity/Nondiscrimination,
%20Harassment%20-%20AR%205145.3%20-%20English%20(8.8.16).pdf (defining harassment on the
basis of sex as “[a]cts of verbal, nonverbal, or physical aggression, intimidation, or hostility that are based
on sex, gender identity, or gender expression, regardless of whether they are sexual in nature, where the
act has the purpose or effect of having a negative impact on the student’s academic performance or of
creating an intimidating, hostile, or offensive educational environment ….”); Rutgers, the State University
of New Jersey, Policy Prohibiting Discrimination and Harassment, Section 60.1.12 (rev. Jul. 5, 2016),
http://catalogs.rutgers.edu/generated/ejbppp_current/pg67.html (including indirect harassment and hostile
environment created by generalized harassing behaviors); The George Washington Univ., The Sexual and



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Moreover, it’s unclear what a school would do differently when considering a non-Title IX
sexual harassment complaint, given that the Department purports to believe that its grievance
proposals constitute the floor of fair and equitable proceedings.
         If the Department were, however, to impose regulations that inhibit state laws or recipient
codes of conduct that are more protective of those subjected to sexual harassment for behavior
that falls outside of the Department’s narrowed definition of sexual harassment under Title IX,
those regulations would be inconsistent with civil rights law and Title IX generally. In creating
the Department of Education, Congress explicitly announced its intention “to protect the rights of
State and local governments and public and private educational institutions in the areas of
educational policies and administration of programs,” and specifically not to “to increase the
authority of the Federal Government over education or diminish the responsibility for education
which is reserved to the States and the local school systems and other instrumentalities of the



Gender-Based Harassment and Interpersonal Violence Policy (July 1, 2018), https://my.gwu.edu/files/
policies/SexualHarassmentFINAL.pdf (defining gender-based harassment to include “harassment based
on gender, sexual orientation, gender identity or gender expression, which may include acts of aggression,
intimidation or hostility, whether verbal or non-verbal, graphic, physical or otherwise ….”); Georgetown
Univ., Code of Student Conduct 2018-2019, Section 33, https://studentconduct.georgetown.edu/code-of-
student-conduct (defining sexual harassment “as any unwelcome conduct of a sexual nature, including
sexual advances, request for sexual favors, or other verbal or physical conduct of a sexual or gender-based
nature when: [1] Submission to such conduct is made explicitly or implicitly a term or condition of an
individual’s employment or academic relationship; or [2] Submission to or rejection of such conduct is
used as a basis for making an employment or academic decision affecting an individual; or [3] Such
conduct has the purpose or effect of interfering with an individual’s work or academic performance,
denying or limiting an individual’s ability to participate in or benefit from the University’s education
programs, or creating an intimidating, hostile, or offensive environment for work or academic pursuit”);
Howard Univ., Code of Student Conduct (Apr. 18, 2015), Section VI.23, http://www.howard.edu/
secretary/documents/StudentCodeofConductApprovedApril182015.pdf (same); D.C. Code § 38-
1802.04(C)(1A)(5) (“title IX of the Education Amendments of 1972 (20 U.S.C. 1681 et seq.) … shall
apply to a public charter school”); District of Columbia Public Charter School Board, Resources for
Transgender and Gender-Nonconforming Students (last checked Jan. 24, 2019), https://www.dcpcsb.org/
resources-transgender-and-gender-nonconforming-students (“Title IX protects all students, including
transgender and gender-nonconforming students, from sex discrimination. Title IX encompasses
discrimination based on a student’s nonconformity with sex stereotypes and gender identity, including a
student’s transgender status”); Office of the State Superintendent of Education, Civil Rights and Gender
Equity Methods of Administration (MOA) Coordination, https://osse.dc.gov/service/civil-rights-and-
gender-equity-methods-administration-moa-coordination (“Under federal law, all students in the District
are protected against discriminatory actions based upon a student’s sex, race, ethnic origin or disability.
[Career and Technical Education] [(]CTE[)] students and families should expect the following: … Your
school and school district must post the federal laws that explicitly note your rights that protect you
against any type of discrimination that would prevent deter you from equal access to enrolling and
completing CTE courses; … [ and] Your school and school district must draft grievance policies, let you
know how to file a grievance, and who the contact person is ….”); Wash. Admin. Code § 478-121-155
(2017) (prohibiting, in the Student Conduct Code for the University of Washington, sexual harassment).



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States.174 Moreover, federal laws that are designed to protect citizens are presumed to allow for
the enactment of state and local legislation that is more protective, barring explicit congressional
intent to the contrary.175 For example, Title VII, which prohibits discrimination in employment in
certain contexts, does not bar states from prohibiting discrimination in employment in other
contexts that are not covered by Title VII.
        Nothing within Title IX’s text or history suggests Congress intended the unusual result of
impeding state and local efforts to protect those subjected to sexual harassment more broadly
than Title IX or preventing schools from proactively avoiding Title IX liability (or for that
matter, impeding their efforts to comply with other federal laws that may apply, such as Title
VII).
        B.        State Laws Provide Greater Protections for Students In Their States.
        As might be expected, states already have enacted laws that provide greater protections
than those required by Title IX.
        For example, California defines sexual harassment as “unwelcome sexual advances,
requests for sexual favors, and other verbal, visual, or physical conduct of a sexual nature, made
by someone from or in the work or educational setting,” so long as the conduct would have “the
purpose or effect of having a negative impact upon the individual’s work or academic
performance, or of creating an intimidating, hostile, or offensive work or educational
environment.”176 This definition goes beyond the definition in the proposed regulation, which
would require that the objectionable conduct “effectively den[y]” the complainant of equal
access to the educational program or activity. 83 Fed. Reg. at 61,496. California also provides
clear protection against discrimination for sex-based and gender-based harassment, including
harassment on the basis of gender identity and sexual orientation. Sexual harassment can be
proved based on a showing of severity or pervasiveness, which, as discussed provides additional
protections not in the proposed rule.




        174
              20 U.S.C. § 3403(a).
        175
            See Ferebee v. Chevron Chem. Co., 736 F.2d 1529, 1543 (D.C. Cir. 1984) (“[F]ederal
legislation has traditionally occupied a limited role as the floor of safe conduct; before transforming such
legislation into a ceiling on the ability of states to protect their citizens, and thereby radically adjusting the
historic federal-state balance, . . . courts should wait for a clear statement of congressional intent.”); Home
Builders Ass’n of Greater Chicago v. U.S. Army Corps of Engineers, 335 F.3d 607, 617 (7th Cir. 2003)
(“[M]any federal regulatory laws, establish a floor, but not a ceiling, on state and local regulation.”).
        176
            Cal. Ed. Code § 212.5(c); see also Cal. Educ. Code 48900.2 (sexual harassment must “be
sufficiently severe or pervasive to have a negative impact upon the individual’s academic performance or
to create an intimidating, hostile, or offensive environment”).



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        Another example is the state of Oregon, which has a number of laws that protect the civil
rights of students.177 By statute and regulation, Oregon prohibits discrimination on the basis of
sex,178 and also prohibits sexual harassment of students by staff and other students.179 Higher




        177
           The Oregon Attorney General represents both the Oregon Department of Education and the
Higher Education Coordinating Commission, which have roles in addressing discrimination in Oregon’s
colleges and universities.
        178
             Oregon Revised Statute (ORS) 659.850(1) prohibits discrimination defined as: “… any act that
unreasonably differentiates treatment, intended or unintended, or any act that is fair in form but
discriminatory in operation, either of which is based on race, color, religion, sex, sexual orientation,
national origin, marital status, age or disability. “Discrimination” does not include enforcement of an
otherwise valid dress code or policy, as long as the code or policy provides, on a case-by-case basis, for
reasonable accommodation of an individual based on the health and safety needs of the individual.” It
further provides in (2) that: “A person may not be subjected to discrimination in any public elementary,
secondary or community college education program or service, school or interschool activity or in any
higher education program or service, school or interschool activity where the program, service, school or
activity is financed in whole or in part by moneys appropriated by the Legislative Assembly.”
        179
           Oregon Administrative Rule (OAR), Chapters 589-021; ORS 342.704. The latter provides in
relevant part:
        (1)      (b) Sexual harassment of students includes:
        (A) A demand for sexual favors in exchange for benefits; and
         (B) Unwelcome conduct of a sexual nature that has the purpose or effect of unreasonably
interfering with a student’s educational performance or that creates an intimidating, offensive or hostile
educational environment; …
        (c) All complaints about behavior that may violate the policy shall be investigated;
        (d) The initiation of a complaint in good faith about behavior that may violate the policy shall not
adversely affect the educational assignments or study environment of the student; and
        (e) The student who initiated the complaint and the student’s parents shall be notified when the
investigation is concluded.
         (2) The State Board of Education shall adopt by rule minimum requirements for school district
policies on sexual harassment of staff by students and other staff including, but not limited to,
requirements that:
        (a) All staff and students are subject to the policies;
        (b) Sexual harassment of staff includes:
        (A) A demand for sexual favors in exchange for benefits; and
         (B) Unwelcome conduct of a sexual nature that has the purpose or effect of unreasonably
interfering with a staff person’s ability to perform the job or that creates an intimidating, offensive or
hostile work environment;
        (c) All complaints about behavior that may violate the policy shall be investigated;



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Education Coordinating Commission (HECC) regulations, which apply to both private career
schools and post-secondary universities, prohibit schools from “otherwise limiting any student in
their enjoyment of a right, privilege or opportunity,” which likely includes harassment claims.180
Aggrieved students can file a complaint with HECC, which then reviews the complaint and
determines whether it is valid.181 Once HECC issues its order, such order would be subject to a
contested case hearing through the Oregon Office of Administrative Hearings.182
       All universities in Oregon are also required to have a written sexual assault protocol,183
but many of the proposed rule’s provisions would create inconsistencies. The protocol applies to


        (d) The initiation of a complaint in good faith about behavior that may violate the policy shall not
adversely affect any terms or conditions of employment or work environment of the staff
complainant; and
       (e) The staff member who initiated the complaint shall be notified when the investigation is
concluded.
        180
              OAR 715-011-0050(8).
        181
              OAR 715-011-0075
        182
              OAR 715-011-0085.
        183
              ORS 350.255 provides:
         (1) Each public university listed in ORS 352.002 (Public universities), community college and
Oregon-based private university or college shall adopt a written protocol to ensure that victims of sexual
assault receive necessary services and assistance in situations where:
        (a) The alleged victim of the sexual assault is a student at the university or college and the alleged
sexual assault occurred on the grounds or at the facilities of the university or college; or
        (b) The alleged perpetrator of the sexual assault is a student at the university or college, or a
member of the faculty or staff of the university or college, regardless of where the alleged sexual assault
occurred.
       (2) A written protocol adopted under subsection (1) of this section must ensure that each victim
who reports a sexual assault is provided with a written notification setting forth:
        (a) The victim’s rights;
        (b) Information about what legal options are available to the victim, including but not limited to:
        (A) The various civil and criminal options the victim may pursue following an assault; and
        (B) Any campus-based disciplinary processes the victim may pursue;
        (c) Information about campus-based services available to the victim;
         (d) Information about the victim’s privacy rights, including but not limited to information about
the limitations of privacy that exist if the victim visits a campus health or counseling center; and
        (e) Information about and contact information for state and community-based services and
resources that are available to victims of sexual assault.
        (3) A written notification provided under subsection (2) of this section must:



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situations in which the alleged victim is a student and the assault occurred on the grounds or at
the facilities of the university or if the alleged perpetrator is a student or member of faculty of the
university, regardless of the location. As such, under Oregon law, universities have the ability to
regulate activities of students that occur off-campus.184 Under Oregon law, the complainant may
provide notice to the university generally in order to trigger a review required by state standards;
the complainant need not inform an official with authority to take corrective action as required
under the proposed rule. Under Oregon law, public universities, including community colleges,
and Oregon-based private universities and colleges, regardless of religious affiliation, are
required to follow the sexual harassment and assault protocol.185 Accordingly, in Oregon, the
Department’s proposed rule will drastically narrow the scope of Title IX investigations by
imposing bottlenecks on almost every phase of the process, including the physical locations
subject to the law, the level of formality of the notice required to initiate a grievance process, the
applicable definition of “harassment,” and the standard by which culpability must be determined.
As a result, the proposed rule conflicts with Oregon’s multiple discrimination statutes.
         Another example is the state of Washington, which provides broad civil rights protections
to individuals subjected to harassment and violence on the basis of sex and sexual orientation
through its Law Against Discrimination (WLAD).186 Because the Department’s proposed Title
IX regulation does not mention sexual orientation, Washington’s law arguably provides greater
civil rights protections. Further, because the purpose of the law is to deter and to eradicate
discrimination in Washington, it requires liberal construction, and “nothing contained in the law
shall ‘be construed to deny the right to any person to institute any action or pursue any civil or
criminal remedy based upon an alleged violation of his or her civil rights[.]’”187
        Similarly, the state of Nevada, like California, defines sexual harassment more broadly
than the proposed rule contemplates. Nevada’s sexual harassment codes and guidelines are

        (a) Be written in plain language that is easy to understand;
        (b) Use print that is of a color, size and font that allow the notification to be easily read; and
        (c) Be made available to students:
        (A) When a sexual assault is reported;
        (B) During student orientation; and
        (C) On the Internet website of the university or college.
        184
              ORS 350.255.
        185
              Id.
        186
            Wash. Rev. Code § 49.60; Wash. Rev. Code § 49.60.030(1) (“The right to be free from
discrimination because of … sex, … sexual orientation, is recognized as and declared to be a civil
right.”); see also Const. art. XXXI, §§ 1–2 (amend. 61) (equality of right shall not be denied or abridged
on account of sex).
        187
              Marquis v. City of Spokane, 922 P.2d 43, 49 (Wash. 1996).



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designed to permit State agencies and organizations to be proactive and discipline or remove an
employee before his/her actions subject the State to liability.188 Further, Nevada’s Clark County
School District, like California, includes a broader definition of sexual harassment than the
proposed regulation, identifying prohibited conduct as “sufficiently severe, persistent, or
pervasive to limit a student’s ability to participate in or benefit from an educational program or to
create an intimidating, hostile, or offensive educational or work environment.”189
        Likewise, the University of Nevada, in Las Vegas and Reno, defines sexual harassment
more broadly than the proposed rule, explaining sexual harassment incudes “sexual advancements,
requests for sexual favors, and other visual, verbal or physical conduct of a sexual or gender bias
nature” in situations including when “[t]he conduct has the purpose or effect of substantially
interfering with an individual’s academic or work performance, or of creating an intimidating,
hostile or offensive environment in which to work or learn.”190
       The proposed rule’s conflict with a number of current proactive laws and policies that deal
with sexual harassment in many of our states, together with the decreased protections the proposed
rule would afford to victims of sexual harassment, is yet another reason we oppose the proposed
rule.
VI.     Other Areas That Should Be Addressed Before Any Final Rule is Adopted.
        A.        Any Final Rule Should Reinstate the Longstanding Prohibition of Policies
                  That “Suggest” Sex Discrimination.
         Section 106.8(b)(2)(ii) of the proposed regulation unnecessarily, and without adequate
justification, narrows the types of discriminatory publications that a recipient is prohibited from
using and distributing to its applicants, students, and employees. The current regulation states
that a recipient cannot “use or distribute a publication . . . which suggests, by text or illustration,
that such recipient treats applicants, students, or employees differently on the basis of sex.”191
For many years, this section has addressed the use and distribution of materials by recipient

        188
              E.g., Nevada Admin. Code 284.0995.
        189
            Clark County School District Regulation, Discipline: Harassment, https://ccsd.net/district/
policies-regulations/pdf/5141.2_R.pdf; see also Washoe County School District’s policy, https://www.
washoeschools.net/site/default.aspx?PageType=3&ModuleInstanceID=1853&ViewID=7b97f7ed-8e5e-
4120-848f-a8b4987d588f&RenderLoc=0&FlexDataID=6800&PageID=1189 (“Sexual Harassment is a
form of sexual discrimination that involves unwelcome sexual advances, requests for sexual favors, and
other verbal or physical conduct of a sexual nature when submission to or rejection of this conduct
explicitly or implicitly affects an individual’s employment, unreasonably interferes with an individual’s
work performance or creates an intimidating, hostile or offensive educational or work environment. The
term sexual harassment includes sexual violence under Title IX of the Educational Amendments.”).
        190
           See University of Nevada, Las Vegas, Policy Against Sexual Harassment, § 4(c), https://www.
unlv.edu/hr/policies/harassment#7 (last checked Jan. 28, 2019).
        191
              34 C.F.R. 106.9(b)(2) (emphasis added).



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educational institutions that promote and perpetuate sex stereotypes through images or pictures,
thereby discouraging applicants of one sex or another from applying or participating in a career
path or type of class or program. The proposed change limits the prohibition to only publications
that explicitly “state” a school’s policy of engaging in different treatment on the basis of sex.
This change is fundamentally inconsistent with Title IX’s goals, for at least two reasons.
         First, the proposed change is contrary to clearly established Supreme Court precedent that
explicitly recognizes the right to be protected from discrimination and harassment based on sex,
including sex stereotyping.192 The Department has provided no statistical or other evidence to
show that the rationale for this important provision has changed, or that sex-stereotyping no
longer needs to be remedied in our educational institutions.193 Nor has it provided any
justification for retreating from clearly-established Supreme Court law on this issue.




        192
             See Price Waterhouse, 490 U.S. at 251 (“As for the legal relevance of sex stereotyping, we are
beyond the day when an employer could evaluate employees by assuming or insisting that they matched
the stereotype of their group . . .”); Oncale., 523 U.S. at 80 (recognizing that harassment on the basis of
sex can include harassment of a female in “sex-specific and derogatory terms” motivated by “general
hostility to the presence of women”); see also 2001 Guidance at 3 (recognizing that “gender-based
harassment, which may include acts of verbal . . . hostility based on sex or sex-stereotyping . . . is also a
form of sex discrimination to which a school must respond, if it rises to a level that denies or limits a
student’s ability to participate in or benefit from the educational program.”).
        193
            The published policies and other distributed materials of a school can be particularly
susceptible to “suggestions” of sex stereotyping, even where they do not “state” discriminatory rules. A
prospective student is often introduced to an educational institution and its course offerings through the
visual images in its publications issued by mail or posted on its website. Both male and female students
continue to be subjected to sex stereotyping in the forms of visual images, statements, and conduct that
discourages them from engaging in, limits, or denies their access to vocational and education career paths
based on sex. This includes male students discouraged from engaging in dance or theater because these
occupations are not sufficiently “masculine,” and female students discouraged from participating in
science or engineering based on stereotypical conceptions of a woman’s ability to do math and science.
See, e.g., Rachael Pells, Sexism in schools: 57% of teachers admit to stereotyping girls and boys,
Independent (Feb. 8, 2017), https://www.independent.co.uk/news/education/education-news/sexism-
schools-poll-teachers-stereotypes-boys-girls-stem-subjects-sciences-maths-tech-a7567896.html (also
noting that female employees in the US account for less than a quarter of STEM workers, despite making
up almost half the overall workforce); Daniel Reynolds, You Throw Like a Girl: Gender Stereotypes Ruin
Sports for Young Women, Healthline (July 2, 2018) (girls receive less encouragement from teachers and
family members to be physically active and participate in sports; as a result, girls ages 8 to 12 are 19
percent less active, according to 2016 study), https://www.healthline.com/health-news/gender-
stereotypes-ruin-sports-for-young-women#1; Claire Cain Miller, Many Ways to Be a Girl, but One Way
to Be a Boy: The New Gender Rules, N.Y. Times (Sept. 14, 2018) (three quarters of girls 14 to 19 said
they felt judged as a sexual object or unsafe as a girl, and three-quarters of boys said strength and
toughness were the male character traits most valued by society), https://www.nytimes.com/2018/09/14
/upshot/gender-stereotypes-survey-girls-boys.html; Suzanne Vranica, Stereotypes of Women Persist in
Ads, Wall St. J. (Oct. 17, 2003).



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        Second, the proposed change is fundamentally inconsistent with the plain language of
§ 1681(a), which states that no person shall be “excluded from participation in [or] be denied the
benefits of . . . any education program or activity receiving Federal financial assistance.”194 As
the Supreme Court has recognized, Title IX protects students “not only . . . from discrimination,
but also . . . from being ‘excluded from participation in’ or ‘denied the benefits of’ any
‘education program or activity receiving federal financial assistance’.”195 Therefore, a school can
violate Title IX where a student is denied access to educational benefits and opportunities on the
basis of gender, even in the absence of a facially discriminatory policy.196
        The proposed change is inconsistent with and unsupported by the plain language of Title
IX because it only prohibits explicit intentional discrimination while allowing implicit
discrimination, which can nevertheless deny students a fair and equal education. Courts have
consistently recognized and upheld Title IX regulations that prohibit policies found to have a
discriminatory effect on one sex.197 Indeed, this proposed change itself constitutes a
discriminatory policy in violation of Title IX.
       Moreover, prohibiting policies that “suggest” discrimination is not unique to the Title IX
context; the Fair Housing Act and its implementing regulations have similarly been interpreted to
prohibit publications advertising housing that “suggests” that a particular race would be
disadvantaged.198
        Finally, the proposed regulation’s stated justification—that it would “remove subjective
determination” from evaluating violations and make the requirement “more clear”—cannot
excuse a result that harms the intended beneficiaries of Title IX—those subjected to
discrimination on the basis of sex. 83 Fed. Reg. at 61,482. The justification also rings hollow,
since, for more than thirty years, courts and administrators of Title IX have applied this
regulation and others to address sex-stereotyping without apparent difficulty. The Department


        194
              20 U.S.C. § 1681(a).
        195
            Davis, 526 U.S. at 650; see also Vinson, 477 U.S. at 64 (stating in the employment context that
Title VII’s arguably narrower discriminatory prohibitions “evince[] a congressional intent to strike at the
entire spectrum of disparate treatment of men and women”).
        196
           See Davis, 526 U.S. at 650 (“The statute makes clear that . . . students must not be denied
access to educational benefits and opportunities on the basis of gender.”).
        197
           See Mabry v. State Bd. of Cmty. Colleges & Occupational Educ., 813 F.2d 311, 317 n.6 (10th
Cir. 1987) (compiling “regulations implementing Title IX [that] prohibit some facially neutral policies.”);
Sharif by Salahuddin v. New York State Educ. Dep’t, 709 F. Supp. 345, 361 (S.D.N.Y. 1989) (“Several
Title IX regulations specifically prohibit facially neutral policies. . . . with a discriminatory effect on one
sex.”).
        198
            See, e.g., Corey v. Sec’y, U.S. Dep’t of Hous. & Urban Dev. ex rel. Walker, 719 F.3d 322, 326
(4th Cir. 2013) (interpreting Fair Housing Act, 42 U.S.C. 3604(c) (prohibiting any publication which
“indicates” discrimination); Ragin v. New York Times Co., 923 F.2d 995, 999 (2d Cir. 1991) (same).



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provides no support, empirical or otherwise, for its position that schools or courts have been
hampered by a lack of clarity in this rule.
        In sum, the stated basis for such a dramatic change is unsupported and inconsistent with
Title IX’s plain statutory language and objectives, established case law, and congressional intent.
       B.         The Proposal to Eliminate the Requirement that Institutions Invoke the
                  Statute’s Religious Exemption in Writing Raises Concerns of Fair Notice to
                  Students.
       The Department proposes to amend § 106.12 to eliminate the current requirement that an
educational institution “shall” advise OCR “in writing” if it wishes to invoke Title IX’s statutory
exemption for educational institutions controlled by religious organizations to the extent
application of Title IX “would not be consistent with the religious tenets of such
organization.”199 The proposed amendment is unnecessary and raises a concern that students at
some institutions will not know their rights under Title IX until it is too late.
        The proposed amendment is unwarranted because schools’ burden in notifying the
Department regarding religious exemptions is minimal. The Department characterizes the current
rule as “confusing,” 83 Fed. Reg. at 61,482, but identifies no basis for confusion. And schools
have successfully asserted religious exemption in letters to the Department hundreds of times
over the past several decades.
        In addition, we are concerned that the proposed amendment will lead to more students
unknowingly enrolling in schools that believe themselves to be exempted from Title IX but do
not claim the exemption publically, only to learn of their school’s position after they seek to
assert their Title IX rights. Students should know before they matriculate whether (and to what
extent) their school intends to comply with Title IX, and they should be able to assume that they
will enjoy Title IX’s full protections unless the school has informed them otherwise. No student
should learn, only after becoming a victim of discrimination, that their school considered itself
exempt from the relevant requirements of Title IX. Even worse, under the proposal, a school
seemingly could wait to assert its exemption from Title IX until after it initiates grievance
procedures and a complainant undergoes cross-examination and has personal information shared
with the respondent and others.
        If the Department eliminates the current rule’s letter requirement, the Department should
require schools to disclose their Title IX exemption status to current and prospective students in
writing and bar schools from claiming an exemption after the fact if they have affirmatively
represented that they comply with Title IX.




       199
             20 U.S.C. § 1681(a)(3).


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        C.         Restriction of Remedies to Exclude “Damages” and Lack of Definition
                   Inconsistently Limits Remedial Scheme Which Was Intended to Strike at the
                   Entire Spectrum of Discrimination on the Basis of Sex.
         Even in circumstances where an egregious violation of Title IX might warrant relief to an
individual subjected to sexual violence and assault, proposed § 106.3(a) removes the ability of
the Department to assess “damages,” a remedy long available under common law. 83 Fed. Reg.
at 61,495. In addition, the proposed regulation fails to define “damages,” potentially leaving it
open to an overly broad interpretation with a great impact on the intended beneficiaries of the
statute, those subjected to sex discrimination. Therefore, the scope and impact of the change
proposed by the Department on intended beneficiaries of the statute, and on the Department’s
ability to address and remedy noncompliance has not been adequately explained.
         Specifically, the proposed change is contrary to the plain language of the statute, which
authorizes the use of “any other means authorized by law.”200 The change inconsistently limits
the Department’s authority to provide remedies for noncompliance to only those means
authorized in equity. The statutory enforcement language in Title IX mirrors language from the
Civil Rights Act of 1964. But there, the drafters identified precisely where remedies would be
limited.201 Congress did not provide such a limit here. Yet the Department would impose one for
the first time, more than 45 years after the passage of Title IX. This undermines Title IX’s
purpose and improperly usurps Congress’s role.
         Furthermore, OCR’s public resolution agreements reflect that where noncompliance is
found, the Department has historically provided compensatory or remedial services (e.g.,
counseling, tutoring, and academic support) to overcome or remedy the effects of harassment on
the student, including, as warranted, funding for tuition where a student withdraws from the
institution because a recipient has created, encouraged or permitted a hostile environment on the
basis of sex.202 Without a definition of damages, we are concerned that the proposed change may

        200
              20 U.S.C. § 1682.
        201
              42 U.S.C. 2000a-3 (limiting relief to “preventative relief” only).
        202
            Southern Methodist University, OCR Complaint Nos. 06-11-2126; 06-13-2081; 06-13-2088,
https://www2.ed.gov/documents/press-releases/southern-methodist-university-agreement.pdf (in sexual
harassment/sexual violence matter, requiring University to reimburse complainant for all university-
related expenses (tuition/fees, housing/food, and books) incurred for the fall semester minus any
scholarship and grant assistance received, and all counseling expenses incurred over a two-year period);
Tufts University, OCR Complaint No. 01-10-2089, https://www2.ed.gov/about/offices/list/ocr/docs/
investigations/01102089-b.html (in sexual harassment/sexual violence matter, voluntary resolution
agreement includes reimbursement to the student complainant for educational and other reasonable
expenses, incurred during a year time period, and a complaint review which, as appropriate, would
provide remedies, such as referrals to counseling); Princeton University, OCR Complaint No. 02-11-
2025, https://www2.ed.gov/about/offices/list/ocr/docs/investigations/02112025.html (in sexual
harassment/sexual violence matter, voluntary resolution agreement includes reimbursement for
appropriate University-related expenses, as well as expenses for counseling, that Students 1-3 incurred



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be used to impermissibly limit the authority granted by Congress to the Department to utilize
“any other means authorized by law,” thereby resulting in remedies and regulations that are
inconsistent with the statute and its objectives, which include providing “individual citizens
effective protection against [discriminatory] practices” and “overcom[ing] the effects” of such
discrimination.203
        D.         Any Final Rule Should Include Guidelines for Confidentiality.
        Issues relating to the confidentiality of information are critical to any discussion of how
to effectively investigate and remedy sexual harassment and assault. As a result, any rule
implementing Title IX should separately address schools’ obligations with respect to requests by
complainants to keep information confidential.204 A school must, for instance, take all reasonable
steps to honor a request from a complainant to keep his or her identity confidential. They should,
however, notify the complainant that maintaining confidentiality may limit the schools’ ability to
effectively investigate and respond to allegations of harassment and that, depending on the nature
of the complaint, certain information—including the identity of the complainant—must be
disclosed if the student wishes to file a Title IX complaint. The school should inform the student
of the actions it will take regardless of whether the student wishes to go forward with a formal
complaint, including that it will take reasonable steps to prevent retaliation.
        Furthermore, any final rule should make clear that a request by a student to maintain
confidentiality does not free the school of its obligation to investigate and respond to the
allegation. Rather, the school must still “investigat[e] the complaint to the extent possible,”205
and it must also take reasonable actions to prevent recurrences of the conduct alleged by the
complainant.
        As discussed in Section IV.D, it may be possible to conduct a full investigation without
revealing the name of the complainant. In other matters, a complete investigation may not be
possible, but the school can nonetheless take certain actions, including seeking to identify
whether there have been other complaints regarding the same individual and implementing
measures that reiterate and reinforce Title IX prohibitions and provide remedies for the
complainant that do not impact the due process rights of the respondent. And under all


from the date each first reported alleged sexual assault/violence to the date of the resolution); City
University of New York, Hunter College, OCR Complaint No. 02-13-2052, https://www2.ed.gov/about/
offices/list/ocr/docs/investigations/02132052.html (in sexual harassment/sexual violence matter,
voluntary resolution agreement includes assessing whether complainant in case 1-3 and 5-7 and 9-12
suffered effects as a consequence of College not offering counseling or other interim measures or from
any hostile environment created and take steps to address these effects).
        203
              20 U.S.C. § 1682; Gebser, 524 U.S. at 286, 288.
        204
              See 2001 Guidance at 17–18.
        205
              2001 Guidance at 18.



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circumstances, a school should consider whether other corrective action short of disciplining the
accused individual may be appropriate.206
       Finally, any final rule should make clear that, independent of specific requests by
individuals to maintain confidentiality, schools have an affirmative obligation to preserve the
confidentiality of all documents and evidence utilized in investigations of Title IX complaints.
       E.         Schools Have Continuing Obligations Following a Finding of Responsibility
                  or Following an Independent Investigation.
       The proposed regulations fail to explain the obligations Title IX imposes on schools
following a finding of responsibility. Rather, the proposed regulations seem to imply that a
school’s duties upon such a determination extend no further than disciplining the students
determined to be responsible, and then only if the determination was made through a formal
proceeding. E.g., Proposed § 106.45(b)(4). But schools’ obligations go much further.
        First, as discussed in Section II.E, a school has an independent obligation to protect its
students by preventing and remedying harassment, even in the absence of a formal report. A
school must take steps to end the harassment, if it is ongoing, and to prevent future harassment
by the same individual. If the conduct was enabled by or reflects a toxic culture or other systemic
problems, the school must address such systemic issues.
        Furthermore, schools must address the effects of the harassment, which may include
appropriate remedial actions for the complainant or the broader community.207 It is for this
reason that the safe harbor provisions addressed above208 are inconsistent with Title IX to the
extent that they erode schools’ continued responsibilities to their students.
        Critically, any regulations should also specify that a school’s obligation to respond
following a determination of harassment is not time-limited, and that the school must take steps
to ensure that its remedial efforts are successful and to identify whether further efforts are
necessary. The full extent of this obligation will depend in part on the nature and severity of the
conduct at issue, but in all circumstances the school should understand that it maintains an
obligation to take reasonable steps to address the ongoing impact of a violation of Title IX.




       206
            See 2001 Guidance at 18 (“Examples include conducting sexual harassment training for the
school site or academic department where the problem occurred, taking a student survey concerning any
problems with harassment, or implementing other systemic measures at the site or department where the
alleged harassment has occurred.”).
       207
             See, e.g., Gebser, 524 U.S. at 288–89; Feminist Majority Found., 911 F.3d at 696.
       208
             See supra Section II.E.



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        F.         The Proposed Rule Fails to Sufficiently Address the Family Educational
                   Rights and Privacy Act (FERPA).
        As noted in Part IV.G, the proposed regulations do not adequately address the Family
Educational Rights and Privacy Act (FERPA).209 For example, FERPA generally forbids
disclosure of information from a student’s “education record” without consent of the student (or
the student’s parent).210 The regulations need to address whether proposed regulation
§ 106.45(b)(3)(v)’s requirements that recipients provide each “party whose participation is
invited or expected [at a hearing] written notice of the date, time, location, participants, purpose
of all hearings, investigative interviews, or other meetings with a party” can include information
about the sanction that will be implemented. Additionally, the proposed regulations and their
accompanying justification focus only on the rights of respondents to have access to their
educational records. See, e.g., 83 Fed. Reg. at 61,475 (citing a student’s “right to inspect and
review records that directly relate to that student” pursuant to FERPA); 83 Fed. Reg. at 61,476
(“[t]he scope of the parties’ right to inspect and review evidence collected by the recipient is
consistent with students’ privacy rights under FERPA, under which a student has a right to
inspect and review records that directly relate to that student.”). Equally important, however, and
completely unaddressed by the proposed regulations, is the right of the complainant to have their
educational records kept private.211 The interplay of these competing rights should be addressed
in any final regulations, particularly in light of Title IX’s mandate that grievance procedures be
equitable.212
VII.    The Regulatory Impact Assessment Fails to Accurately Assess the Effect of the
        Proposed Rule.
        The Department asserts the proposed regulations were issued “only on a reasoned
determination that their benefits justify their costs,” 83 Fed. Reg. at 61,484. However, even a
cursory review of the Department’s costs analysis reveals its inadequacy. The Department
acknowledges that it “cannot estimate the likely effects of these proposed regulations with
absolute precision.” 83 Fed. Reg. at 61,484. While we agree it is difficult to precisely estimate
the costs of the proposed regulations, a minimal review of the Department’s analysis shows the
costs of the proposed regulations are much higher than it estimates.
        A.         Ignored Costs.
       The Department states the economic analysis explicitly excludes economic consequences
of sexual assault incidents themselves, stating that it is “only intended to capture the economic

        209
              20 U.S.C. § 1232g.
        210
              20 U.S.C. § 1232g (b)(1).
        211
              20 U.S.C. § 1232g (b)(1).
        212
           See 34 C.F.R. § 106.8(c) (requiring grievance procedures adopted pursuant to Title IX provide
for “equitable resolution” of student complaints).


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impacts of this proposed regulatory action.” 83 Fed. Reg. at 61,485. The Department’s statement
is self-contradictory. The proposed regulatory action is exclusively aimed at changing the laws
and regulations governing sexual assault and harassment, which have concrete and obvious
economic costs. The analysis cannot possibly capture the economic impacts of the proposed
regulatory action if it excludes from any analysis the actual economic costs incurred by students
subjected to sexual harassment and violence—the very students the regulations govern. To
provide a cost estimate that even marginally reflects the realities of the regulation, the costs of
sexual assault and harassment must be considered. For example, the cost of rape in the United
States has been estimated to be $122,461 per survivor, or $3.1 trillion over all survivor’s
lifetimes, and these costs are borne by survivors, society, and the government.213 In addition to
considering the costs of sexual assault and harassment, the Department should consider the
economic impact on students who will lose access to their education as a result of being denied
justice under these proposed regulations.
       However, even setting aside the rippling costs of students subjected to sexual harassment
whose sexual assaults would be excluded from Title IX’s purview, there are additional costs that
the proposed regulation ignored.
                1.      Allegations that Do Not Meet the Proposed Stringent Requirements
                        May Still Resurface as Costly Lawsuits.
        While the Department finds savings in narrowing Title IX’s scope, it ignores the costs
stemming from the exclusion of allegations that would no longer fall within that scope. The
Department anticipates a decreased number of investigations under the drastically scaled-down
requirements in covered conduct/location, as well as the reduction in “responsible employees” to
whom conduct may be reported. However, in order to seek justice for themselves, students will
be forced file their allegations in court or with law enforcement. It is unreasonable to assume that
the proposed changes will simply make these allegations disappear, especially amidst nationwide
trends of increasing filings of sexual harassment and assault claims.214
       The Department has the ability to assess, based on a review of prior and existing cases,
how many will not be addressed or resolved under the proposed regulations. But it failed to
undertake this task or provide the public with accurate and adequate information about the


        213
            Peterson et al., Lifetime Economic Burden of Rape Among US Adults, 52 Am. J. of
Preventative Med. 691 (2017). These costs were not unknown to the Department, as the Department cited
this study in their analysis. 83 Fed. Reg. at 61,485 n.16. The Department nevertheless disregarded these
costs by assuming they would be unaffected by the proposed regulations. Id. at 61,485.
        214
           See Jamie D. Halper, In Wake of #MeToo, Harvard Title IX Office Saw 56 Percent Increase in
Disclosures in 2018, Per Annual Report, The Harvard Crimson (Dec. 14, 2018), https://www.thecrimson.
com/article/2018/12/14/2018-title-ix-report; U.S. Equal Employment Opportunity Commission, EEOC
Releases Preliminary FY 2018 Sexual Harassment Data, (Oct. 4, 2018), https://www.eeoc.gov/eeoc/
newsroom/release/10-4-18.cfm (stating “charges filed with the EEOC alleging sexual harassment
increased by more than 12 percent from fiscal year 2017”).


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impact. Nevertheless, it is reasonable to anticipate that because the Department has narrowed its
jurisdiction, the nation will see both an increase in Title IX complaints in civil and criminal
courts, as well as an increase in costly lawsuits alleging non-Title IX causes of action.
                2.       The Department Should Consider the Relationship Between
                         Uninvestigated Allegations and Short- and Long-Term Absences.
        Complainants whose Title IX allegations are not investigated may also have increased
absences, which would decrease receipt of tuition and attendance-related funding by institutions
of higher education (IHEs) and local educational agencies (LEAs). The Department did not
include lost tuition costs for complainants who drop out or take a leave of absence from colleges
or universities, or any decrease in attendance-related funding for LEAs, despite such absences
being clearly contemplated as possible supportive measures for sexual misconduct
complainants.215 According to the Campus Climate Survey Validation Study, over 8 percent of
rape victims and 1.6 percent of sexual battery victims dropped classes and changed their
schedule, and over 21 percent of rape victims and 5.9 percent of sexual battery victims
considered taking time off school, transferring, or dropping out.216 These absences may have
direct and indirect costs, which warrant the Department’s consideration.217
                3.       Costs to Transgender Students.
        Finally, the Department fails to even the mention the term “transgender” in the proposed
regulations.218 This overt exclusion may make transgender students less likely to report on-
campus sexual harassment or sexual assault to the designated “coordinator.” According to a
recent survey of transgender people, 17 percent of K-12 students and 16 percent of college or




        215
           Sample Language for Interim and Supportive Measures to Protect Students Following an
Allegation of Sexual Misconduct, White House Task Force to Protect Students from Sexual Assault 1, 6
(Sept. 2014), https://www.justice.gov/archives/ovw/page/file/910296/download.
        216
            Krebs et al, Campus Climate Survey Validation Study Final Technical Report, Bureau of
Justice Statistics Research and Development Series 1, 114 (Jan. 2016), https://www.bjs.gov/content/
pub/pdf/ccsvsftr.pdf.
        217
           U.S. Dep’t of Educ., et al., Dear Colleague Letter Regarding Chronic Absenteeism at 1 (Oct.
7, 2015), https://www2.ed.gov/policy/elsec/guid/secletter/151007.html (“A growing and compelling body
of research demonstrates that chronic absence from school . . . is a primary cause of low academic
achievement and a powerful predictor of which students will eventually drop out of school.”).
        218
            The Department withdrew its May 13, 2016 Dear Colleague Letter on Transgender Students
less than a year after its joint issuance with the U.S. Department of Justice’s Civil Rights Division (U.S.
Dep’t of Educ., Office for Civil Rights, & U.S. DOJ, Civil Rights Division, Dear Colleague Letter, 1
(Feb. 22, 2017)).



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vocational school students who were out or perceived as transgender reported leaving school
because of mistreatment.219
        B.      Unreasonably Low Estimate of Percentage of Title IX Complaints Based on
                Sexual Harassment or Sexual Violence.
       The Department’s assumption that sexual harassment and sexual assault make up only 50
percent of Title IX complaints (83 Fed. Reg. at 61,488) is unreasonably low, relies on an unclear
baseline, and ignores the nationwide uptick in sexual harassment complaints discussed above. As
we have explained, sexual harassment is pervasive.
       In addition to the low initial baseline, studies show there is an upward trend of sexual
harassment-related Title IX complaints.220 The Department’s own OCR reported that there was a
277 percent increase and an 831 percent increase in its receipt of sexual violence complaints at
the K-12 and postsecondary levels, respectively, since Fiscal Year 2011.221 This upward trend
means, at a minimum, that averaging prior years’ complaints is not a fair extrapolation of sexual
harassment-related Title IX claims.
        C.      The Department Provides Unreasonably Low Cost Estimates for
                Implementing the Proposed Rule.
        The Department significantly underestimates the amount of time that will be required by
Title IX coordinators to review any final rule and to revise local grievance procedures
accordingly. The Department estimates that for LEAs, the Title IX Coordinator and a lawyer will
spend 4 hours and 8 hours, respectively, reviewing any final regulations. 83 Fed. Reg. at 61,486.
For IHEs, the Department estimates review would take 8 and 16 hours, respectively. 83 Fed.
Reg. at 61,487. Given the dramatic nature of the changes contained in the proposed regulations,
and the extensive and nuanced changes that will be required of recipients’ own policies, it is
unreasonable to assume that Title IX coordinators will require only a day or less to review, and
that educational institutions’ attorneys will only take two days or less to review. Further, the
Department severely underestimates the time that will be required to revise grievance procedures
to comply with any new regulations. The Department assumes that for LEAs, Title IX
Coordinators will spend 4 hours and lawyers will spend 16 hours on revising grievance
procedures. 83 Fed. Reg. at 61,486. The Department estimates these times will be doubled for
IHEs. Id. This includes no time for stakeholder input on grievance procedure revisions and

        219
          S.E. James, et al, The Report of the 2015 U.S. Transgender Survey, National Center for
Transgender Equality 1, 11 & 136 (Dec. 2016), http://www.transequality.org/sites/default/files/
docs/USTS-Full-Report-FINAL.PDF.
        220
          Celene Reynolds, The Mobilization of Title IX across U.S. Colleges and Universities, 1994-
2014, 00 Social Problems 1 (Mar. 2018), https://doi.org/ 10.1093/socpro/spy005.
        221
            U.S. Dep’t of Educ., Off. for Civil Rights, Securing Equal Educational Opportunity: Report to
the President and Secretary of Education (Dec. 2016), https://www2.ed.gov/about/reports/annual/
ocr/report-to-president-and-secretary-of-education-2016.pdf.


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underestimates the amount of time required to revise procedures. Finally, the Department
anticipates it will only take a single hour for Title IX coordinators to create or modify a “safe
harbor” form for complainants who report sexual harassment but who do not want to file a
formal complaint. 83 Fed. Reg. at 61,494. It is unreasonable to assume that a significant
document intended to serve as a “safe harbor” would be created in only one (1) hour by a Title
IX Coordinator, and that an attorney would not even review it. These cost estimates are arbitrary
and unreasonably low.
         The Department also assumes the Title IX Coordinator, investigator, and a decision
maker will each spend 16 hours in training. 83 Fed. Reg. at 62,486. It is concerning that the
Department would contemplate only that a single investigator and a single decision-maker would
or should attend the training. 83 Fed. Reg. at 61,486. Especially since the Department is
anticipating limiting the number of people who can accept formal complaints, it will be essential
to provide training to all staff who interact with students regarding how to counsel students on
the appropriate channels for instigating formal complaints. It will also be essential to provide
training for students, parents and guardian on how to properly file complaints, so that they do not
lose their rights due to an inconsequential procedural mistake. Further, the Department does not
accurately represent the costs for training hearing officers and panels during live hearings, where
they will need to be versed in evidentiary procedure and taking examination and cross-
examination. In addition, the Department “do[es] not calculate additional costs in future years as
[it] assume[s] that recipients will resume training of staff one[sic] their prior schedule after Year
1.” 83 Fed. Reg. at 61,487. This limitation to one year of training costs and to training only
individuals who can receive formal complaints underscores the Department’s inappropriate focus
away from the protection of students who are meant to be protected by Title IX.
        There are also several ways in which the Department inappropriately underestimates the
costs of investigations. First, the Department estimates “a reduction in the average number of
investigations per IHE per year of 0.75.” 83 Fed. Reg. at 61,487. It is unreasonable to assume
this reduction, given that reports are, as described above, increasing, and the proposed
regulations create significant additional avenues for complaints filed by respondents. Second,
while the Department assumes an approximate reduction of 0.18 of the number of IHE
investigations by disregarding off-campus sexual harassment (83 Fed. Reg. at 61,487), the
Department fails to allocate time for the investigation that would need to occur for the
jurisdictional analysis to establish where the incident occurs.
        In addition to underestimating the time it will take for a recipient to investigate Title IX
complaints, the Department underestimates the cost for the parties’ representation in the
investigative process. For responses to a formal complaint at the LEA level, the Department
assumed that both parties would obtain legal counsel who would work for one hour and, in the
alternative, estimated an average cost non-attorney advisor cost would be two attorney hours. 83
Fed. Reg. at 61,487. The calculated cost the Department associated with the representation is
flawed in two respect. First, the Department assumes a rate of $90.71 per hour. 83 Fed. Reg. at



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61,486. The Department provides no basis for this assumed rate for an attorney, which is
significantly lower than the average hourly rate of attorneys.222 Second, it is unreasonable to
assume adequate representation could occur with representation by an attorney for only one hour
(or two hours for a non-attorney) for a hearing, particularly one involving a complex
investigation of a sexual assault.
         Finally, the Department fails to appropriately estimate the costs of the live hearings
required under the proposed regulations. The Department will require live hearings at IHEs, but
fails to consider many of the increased costs this requirement will entail. For example, the
Department does not estimate any costs for transcription and translation services that may be
needed. Further, the Department estimates that in 60 percent of IHEs, the Title IX Coordinator
also serves as the decision-maker. 83 Fed. Reg. at 61,488. Only allowing costs for an additional
adjudicator in 40 percent of hearings is arbitrary and in direct contradiction to proposed
regulation § 106.45(b)(4) which precludes the decision-maker from being the same person as the
Title IX Coordinator of the investigation.
VIII. The Department Should Delay the Effective Date of the Rule.
        If the Department adopts a final rule along the lines of its proposal, it should give schools
adequate time to respond before the rule takes effect. We believe that an effective date no earlier
than three years from the date of the final rule would be appropriate.
         A compliance window of three years or more is warranted because the proposed rule
represents a stark departure from the substantive and procedural standards that educational
institutions have been applying for years. Schools will need time to overhaul their procedures,
hire new staff, train employees, and disseminate information to students. Smaller schools in
particular will require an extended period to come into compliance. For reasons discussed above,
the Department’s new rule will cause confusion among students, staff, and other stakeholders
however quickly they are implemented, but the confusion will only be compounded if the
Department does not allow schools enough time to respond appropriately.
       Adopting an earlier effective date would be inconsistent with the Department’s recent
approach to other regulations that would apply to fewer schools than the proposed Title IX rule,
and that would not require such significant programmatic changes. For instance, the Department
has seen fit to allow schools until July 2019 to comply with provisions of its 2014 Gainful

        222
            See, e.g., Jay Reeves, Top 10 Hourly Rates by City, Lawyers Mutual Byte of Prevention Blog,
(Apr. 6, 2018), https://www.lawyersmutualnc.com/blog/top-10-lawyer-hourly-rates-by-city (listing
lawyer rates by practice area ranging from $86/hour to $340/hour); Hugh A. Simons, Read This Before
You Set Your 2018 Billing Rates, Law Journal Newsletters (Nov. 2017), http://www.lawjournalnews
letters.com/2017/11/01/read-this-before-you-set-your-2018-billing-rates/ (indicating first year associates
cost their employers approximately $111/hour). Further, it is unreasonable to assume adequate
representation could occur with representation by an attorney for only one hour (or two hours for a non-
attorney).



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Employment rule223 and its 2016 Borrower Defense rule,224 and delayed the effective date of the
2016 Program Integrity and Improvement rule until July 2020.225 Setting aside the
reasonableness of the Department’s decisions with respect to these other regulations, it would
only be appropriate for the Department to adopt a similar compliance period for Title IX rule that
would have more far-reaching consequences for many more schools.
IX.    Conclusion
        Proper enforcement of Title IX has an immense impact on our states, our colleges and
universities, our K-12 schools, and most importantly, our students. Title IX requires schools to
provide an education that is free from sexual harassment, violence, and discrimination. Our
educational institutions, relying on prior guidance from the Department, have spent many years
developing procedures and policies to address these issues, and they have made great strides in
fostering more open and inclusive educational environments. The proposed rule, however, is a
step backward, rather than a step forward, in achieving Title IX’s goals. It would inject confusion
and bias into the Title IX adjudicatory process. Survivors of sexual harassment and violence
would face significant reporting obstacles under the new rule, further undermining the already
too low sexual violence and harassment reporting rates. The proposed rule is not consistent with
Title IX as written and fails to further its goals. It should be withdrawn.
       Respectfully submitted,




JOSH SHAPIRO                                              GURBIR S. GREWAL
Attorney General                                          Attorney General
Commonwealth of Pennsylvania                              State of New Jersey




XAVIER BECERRA                                            KATHLEEN JENNINGS
Attorney General                                          Attorney General
State of California                                       State of Delaware




       223
             See 83 Fed. Reg. 28,177 (June 18, 2018).
       224
             See 83 Fed. Reg. 6,458 (Feb. 14, 2018); 83 Fed. Reg. 34,047 (July 19, 2018).
       225
             83 Fed. Reg. 31,296 (July 3, 2018).


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KARL A. RACINE                             AARON M. FREY
Attorney General                           Attorney General
District of Columbia                       State of Maine




CLARE E. CONNORS                           BRIAN FROSH
Attorney General                           Attorney General
State of Hawaiʻi                           State of Maryland




KWAME RAOUL                                KEITH ELLISON
Attorney General                           Attorney General
State of Illinois                          State of Minnesota




TOM MILLER                                 AARON D. FORD
Attorney General                           Attorney General
State of Iowa                              State of Nevada




ANDY BESHEAR                               HECTOR BALDERAS
Attorney General                           Attorney General
Commonwealth of Kentucky                   State of New Mexico




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JOSH STEIN
Attorney General
State of North Carolina




ELLEN ROSENBLUM
Attorney General
State of Oregon




PETER F. NERONHA
Attorney General
State of Rhode Island




T.J. DONOVAN
Attorney General
State of Vermont




BOB FERGUSON
Attorney General
State of Washington




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